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Cred. App, Update on File         PHONE             FAX                     COMPANY NAME                               ADDRESS                      CITY       STATE   ZIP
            U               (760) 602-5001   (562) 595-9810   24 HOUR FITNESS                           537 WEST 9460 SOUTH              CARLSBAD             CA            92018
            U               (651)-733-1110   (816) 650-4061   3M CENTER                                                                  Saint Paul           MN            55119
            U               (828) 884-4440   828-884-4446     4-RENT, INC                               312 INDUSTRIAL ROAD              BREVARD              NC            28712
            U               (954) 981-8270   (954) 981-4715   441 TOOL REPAIR                           7700 Westbank Exp.               PEMBROKE PARK        FL            33009
   No Longer in Bus.        (954) 981-1414   (951) 693-0658   A & M POWER TOOL REPAIR                   150-M LOS OBREROS LANE           SAN CLEMENTE         CA            92672
            U               (714) 540-3060   (714) 540-3055   A & W ELECTRIC MOTORS                     c/o SUPERIOR ELECTRIC MTR SVCE   VERNON               CA            90058
            U               (904) 782-3707   (904) 282-3707   A 1 TOOL REPAIR                           1851 BLANDING BLVD               MIDDLEBURG           FL            32068
            U               (503) 458-6292   (503) 458-6299   A F DICK MANUFACTURING INC                92640 ABBOT ROAD                 ASTORIA              OR            97103
    No Longer in Bus        (215) 482-9100   (215) 487-2150   A J LA COURSE, INC                        275 LEVERINGTON AVENUE           PHILADELPHIA         PA            19127
            C               (951) 735-3009   (951) 735-4367   A M ELECTRIC TOOL REPAIR & SUP            325 E GRAND BLVD                 CORONA               CA            92879
            U               (858) 565-4131   (858) 292-9263   A O REED & CO *                           P O BOX 85226                    SAN DIEGO            CA       92186-5226
    No Longer in Bus        (303) 623-3743   (303) 623-7422   A PRO TOOL INC                            1950 W 13TH AVE UNIT 2           DENVER               CO            80204
            U               (724) 658-8041   (724) 657-2075   A SERVEDIO ELECTRIC MOTOR SV              634 E WASHINGTON STREET          NEW CASTLE           PA            16101
                            (303) 232-7417   (303) 623-7422   A TO Z RENTER CENTER INC                  11900 W COLFAX AVE               LAKEWOOD             CO            80215
                            (301) 572-2929   (301) 572-4473   A TOTAL RENTAL CENTER *                   10700 HANNA ST                   BELTSVILLE           MD            20705
           C                (970) 482-9930   (970) 482-9931   A Z SALES & SERVICE                       1554 RIVERSIDE AVE               FORT COLLINS         CO            80524
           C                (386) 734-3244   (386) 734-3244   A-1 ELECTRIC MOTOR SV                     227 W BERESFORD AVE              DELAND               FL            32720
    No Longer in Bus        (419) 626-4053   (419) 626-1858   A-1 RENTAL INC                            1415 CLEVELAND ROAD              SANDUSKY             OH            44870
          U                 (303) 424-4456   (303) 403-4988   A-1 RENTAL SERVICE, LTD INC               7080 W 38TH AVENUE               WHEAT RIDGE          CO            80033
          U                 (623) 842-1321   (623) 842-1390   A-1 STAPLERS & NAILERS                    4204 W DUNLAP AVENUE             PHOENIX              AZ            85051
    No Longer in Bus        (805) 796-2623   (805) 484-2704   A-CECO                                    P O BOX 3008                     CAMARILLO            CA            93011
          U                 (503) 227-2580   (503) 227-2743   A-LINE CONCRETE CUTTING LLC               P O BOX 6219                     VANCOUVER            WA            98668
                            (661) 949-5811   (661) 919-5821   A.V. DIALYSIS CENTER                      44203 15TH ST. WEST              LANCASTER            CA            93534
           U                (914) 949-0585   (914) 949-8034   A&C / FURIA ELECTRIC MOTORS               75 LAFAYETTE AVE.                NORTH WHITE PLAINS   NY            10603
           C                (303) 776-6031   (303) 678-1304   AAA ELECTRIC CO *                         24 S. MAIN STREET                Longmont             CO            80501
           C                (214) 823-1823   (214) 428-2751   AAA ELECTRIC MOTORS                       2405 S HARWOOD STREET            DALLAS               TX            75215
           U                (213) 749-2367   (213) 749-2106   AAA ELECTRIC MTR SERVICE *                1346 VENICE BLVD                 LOS ANGELES          CA            90006
                            (661) 947-5886   (661) 947-4706   AAA SAW SHOP                              38644 6TH STREET E               PALMDALE             CA            93550
          U                 (800) 228-6652   (954) 989-5738   AAA TOOL & SAW SVCE                       1450 S STATE ROAD 7              HOLLYWOOD            FL            33023
          U                 (713) 526-8781   (713) 526-9210   AALLEN MEDICAL EQUIPMENT                  4826 FANNIN STREET               HOUSTON              TX            77004
          U                 (512) 326-8181   (512) 326-3130   AAN RENTOOLS, INC.                        DBA AUSTIN RENT WAY              AUSTIN               TX            78745
    No Longer in Bus        (408) 439-4753   (408) 371-8743   ABBA MEDICAL SERVICES INC                 3348 MERIDIAN AVE                SAN JOSE             CA            95124
           C                (713) 937-7217   (713) 937-6977   ABC ELECTRIC MOTOR REPAIR                 6040 BRITTMOORE RD SUITE L       HOUSTON              TX            77041
          U                 (888) 572-3888   (330) 220-4949   ABC EQUIPMENT RENTAL AND SALES            29 PEARL ROAD                    BRUNSWICK            OH            44212
           C                (410) 282-2550   (410) 575-7531   ABC RENTAL CENTER                         8031 NORRIS LANE                 DUNDALK              MD            21222
          U                 (651) 451-2264   (651) 457-3620   ABC RENTALS INC                           460 EAST VILLAUME AVENUE         SOUTH SAINT PAUL     MN            55075
          U                 (516) 294-6850   (516) 294-6823   ABCO PEERLESS SPRINKLER CORP              50 MIDLAND AVENUE                HICKSVILLE           NY       11801-1510
                            (480) 460-8282   (480) 460-8284   ABCOMED, INC.                             1334 E CHANDLER BLVD STE 5-D31   PHOENIX              AZ            85048
           C                (916) 381-2222   (916) 381-2335   ABE JANITORIAL SPLY & EQUIP               6015 POWER INN ROAD, STE K       SACRAMENTO           CA       95824-2320
    No Longer in Bus        (989) 471-2445   (989) 471-5440   ABEND ELECTRIC                            1120 HURBERT ROAD                SPRUCE               MI       48762-9606
          U                 (510) 886-0800   (510) 315-0609   ABILITY ACCESS LLC                        IMAGINE THE REALITY              Hayward              CA       94544-7603
          U                 (858) 541-0552   (858) 541-1941   ABILITY CENTER                            4797 RUFFNER ST                  SAN DIEGO            CA            92111
    No Longer in Bus        (209) 572-2273   (209) 572-1625   ABILITY MEDCO                             1300 N. 9TH ST SUITE C           MODESTO              CA            95350
                            (714) 754-5078   (714) 754-5124   ABLE C/O CITY OF COSTA MESA               99 FAIR DRIVE                    COSTA MESA           CA            92626
                            (816) 587-4640   (816) 587-5320   ABLE CARE HEALTH SERVICES                 5911 NW BARRY ROAD               KANSAS CITY          MO            64154
           U                (503) 232-8056   (503) 232-9845   ABLE EQUIPMENT INC                        615 SE CLAY STREET               PORTLAND             OR            97214
           U                (727) 586-2995   (727) 588-0899   ABLE MEDICAL                              1280 MISSOURI AVE. NORTH         LARGO                FL            33770




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                            (727) 586-2995   (727) 588-0899   ABLE MEDICAL                              1280 MISSOURI AVE NORTH        LARGO              FL            33770
    No Longer in Bus        (508) 893-9500   (508) 893-9501   ABM HEALTH, INC                           ATTN: Accounts Payable         HOLLISTON          MA             1746
                            (913) 831-7800   (913) 831-4824   ABOUT YOUR HEALTH                         5042 LAMAR AVE                 MISSION            KS            66202
          U                 (800) 660-4132   (207) 472-4142   ACADIA HOME CARE                          PO BOX 630                     FORT FAIRFIELD     ME             4742
    No Longer in Bus        (408) 434-6800   (408) 434-6880   ACCELERATOR SYSTEMS INT'L                 2405 QUME DRIVE                SAN JOSE           CA            95131
          U                 (423) 693-1514   (423) 693-4530   ACCESS MEDICAL                            PO BOX 53630                   KNOXVILLE          TN            37950
          U                 (317) 784-2255   (317) 784-6391   ACCESS MOBILITY INC                       5240 ELMWOOD AVENUE            INDIANAPOLIS       IN            46203
          U                 (818) 244-6571   (818) 247-6533   ACCO ENGINEERED SYSTEMS                   FILE #95031                    GLENDALE           CA       91201-2214
                            (847) 541-9500   (847) 419-4140   ACCO NORTH AMERICA ****                   300 TOWER PARKWAY              LINCOLNSHIRE       IL       60069-3540
           U                (323) 727-7765   (323) 727-9477   ACCO/ AIR CONDITIONING CO, INC            3333 MALT AVENUE               COMMERCE           CA            90040
           C                (714) 546-2162   (714) 546-9676   ACCURATE CIRCUIT ENGINEERING              3019 S. KILSON DRIVE           SANTA ANA          CA            92707
           C                (651) 771-0112   (651) 771-0155   ACCURATE ELECTRIC CO                      845 PAYNE AVE                  ST PAUL            MN            55101
           U                (562) 903-0200   (562) 903-0393   ACCURIDE INTERNATIONAL INC.               12311 SHOEMAKER AVENUE         SANTA FE SPRINGS   CA            90670
           U                (760) 734-4177   (760) 734-4188   ACCUTEK PACKAGING EQP CO                  1399 SPECIALTY DRIVE           VISTA              CA       92083-8521
                            (608) 223-0625   (608) 223-0609   ACCUWEB, INC                              PO BOX 7816                    Madison            WI            53707
           U                (707) 586-4490   (707) 586-4720   ACE ELECTRIC SERVICE                      5531 STATE FARM DRIVE          Rohnert Park       CA            94928
           C                (703) 532-5600   (703) 237-9021   ACE TOOL RENTAL, INC                      P O BOX 28                     FALLS CHURCH       VA            22040
           U                (562) 802-0998   (562) 802-5069   ACHEM INDUSTRIAL AMERICA, INC             13226 ALONDRA BLVD             CERRITOS           CA            90703
                            (920) 452-3389   (920) 452-1027   ACME ARMATURE WORKS                       wka Sheboygan Armature Works   SHEBOYGAN          WI            53083
                            (701) 258-1267   (701) 258-1292   ACME ELECTRIC                             3840 E ROSSER AVE              BISMARCK           ND       58501-3314
                            (701) 839-2263   (701) 839-2253   ACME ELECTRIC                             700 20TH AVE SE                MINOT              ND            58701
           C                (701) 746-6481   (701) 839-2253   ACME ELECTRIC MTR INC *                   P O BOX 13720                  GRAND FORKS        ND       58208-3720
           C                (817) 834-6666   (817) 834-6669   ACME TOOL REP/BRAD KAY                    2205 MONEDA STREET             HALTOM CITY        TX            76117
           C                (208) 431-7318   (208) 678-7318   ACME TOOL REPAIR                          293 SO. 598 W                  HEYBURN            ID            83336
    No Longer in Bus        (949) 645-8212   (949) 645-8215   ACTION GEAR & BROACHING                   1717 MONROVIA AVE.             COSTA MESA         CA            92627
           C                (541) 726-6517   (541) 726-9665   ACTION RENTAL & PARTY TIME                4340 FRANKLIN BLVD             EUGENE             OR            97403
    No Longer in Bus        (407) 331-3303   (407) 331-5484   ACTIVE MOBILITY                           102 LIVE OAKS BLVD.            CASSELBERRY        FL            32707
          U                 (208) 287-5556   (208) 287-5579   ADA COUNTY CORONER                        5550 MORRIS HILL               BOISE              ID            83706
          U                 (713) 937-0968   (713) 937-0468   ADAMS ELECTRIC MOTOR SHOP                 10134 SUSSEX                   HOUSTON            TX            77041
          U                 (805) 748-6453   (804) 796-2037   ADAMSON GLOBAL TECHNOLOGY                 P O BOX 6246                   KINSTON            NC            28501
    No Longer in Bus        (972) 240-2326   (972) 240-4532   ADAPT INC.                                435 WEST I-30                  GARLAND            TX            75043
    No Longer in Bus        972/240-2326     972/240-4532     ADAPT MEDICAL                             435 W. I-30                    GARLAND            TX            75043
           C                (702) 876-9800   (702) 367-8098   ADDISON CONSTRUCTION SUPPLY               5685 SOUTH CAMERON             LAS VEGAS          NV            89118
          U                 (740) 779-7419   (740) 779-7720   ADENA HEALTH SYSTEM                       272 HOSPITAL RD                CHILLICOTHE        OH            45601
          U                 (323) 721-6468   (323) 721-3430   ADVANCE ELECTRIC MOTOR                    1915 W. WHITTIER BLVD          MONTEBELLO         CA            90640
           C                (503) 238-3944   (503) 238-3926   ADVANCE ELECTRIC MOTORS                   1612 SE BROOKLYN STREET        Portland           OR            97202
          U                 (502) 955-1233   (502) 955-1235   ADVANCE ELECTRIC MTR & PUMP               292 ARNOLD DRIVE, UNIT1        SHEPERDSVILLE      KY            40165
           C                (562) 691-0918   (562) 691-5482   ADVANCE FIRE PROTECTION CO                1451 WEST LAMBERT ROAD         LA HABRA           CA            90631
          U                 (619) 562-3373   (619) 562-3450   ADVANCED AIR & POWER                      1685 MARSHALL AVENUE           EL CAJON           CA            92020
          U                 (609) 671-1200   (609) 671-1213   ADVANCED CLINICAL CONSULTING              1478 PROSPECT STREET           EWING              NJ             8638
           C                714-895-5544     714-903-5419     ADVANCED COMPOSITE PROD & TECH            1502 CHEMICAL LANE             Huntington Beach   CA            92649
                            (608) 781-2627   (608) 781-2628   ADVANCED ELECTRIC EQUIPMENT SV            2411 LARSON STREET             LA CROSSE          WI            54603
                            (808) 242-2676   (808) 242-2292   ADVANCED MEDICAL                          1364 KILOU ST.                 WAILUKU            HI            96793
           U                (949) 492-3113   (949) 492-6480   ADVANCED MP TECHNOLOGY                    1010 CALLE SOMBRA              SAN CLEMENTE       CA            92673
           U                (909) 949-9944   (909) 949-2244   ADVANCED SYSTEMS SERVICES, INC            1082 AIRPORT DRIVE             UPLAND             CA            91786
           U                (410) 876-8200   (410) 386-4544   ADVANCED VACUUM COMPANY, INC              1215 BUSINESS PKWY NORTH       Westminster        MD            21157
           U                (815) 727-6644   (815) 727-6644   ADVOCATE HEALTHCARE                       11065 Petal St                 DOWNERS GROVE      IL            60515




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            U             (630) 929-8107   (630) 929-9825   ADVOCATE HEALTHCARE                       ATTN: ACCOUNTS PAYABLES          DOWNER GROVE        IL            60515
                          (930) 929-8107   (630) 929-9825   ADVOCATE HEALTHCARE                       P.O. BOX 3367                    DOWNERS GROVE       IL            60515
    No Longer in Bus      (316) 943-6100   (316) 943-2917   AERO ELECTRIC INC *                       P O BOX 3807                     WICHITA             KS       67201-3807
            U             (866) 359-5287   (316) 943-2917   AEROSPACE TURBINE RTBLS                   1919 NORTHERN                    WICHITA             KS            67216
    No Longer in Bus      978/762-8777     978/762-0006     AFFILIATED CLINICAL ENG SVCS              TWO ELECTRONICS AVENUE           DANVERS             MA             1923
    No Longer in Bus      (207) 673-6734   (207) 973-6763   AFFILIATED MATERIAL SERVICES              ATT: ACCOUNTS PAYABLE            BANGOR              ME             4401
            U             (954) 484-7599   (954) 484-9060   AFFORDABLE MEDICAL SUPPLIES               5333 NORTH STATE RD. 7           TAMARAC             FL            33319
            C             (806) 360-2000   (806) 364-1602   AG AGRICULTURAL ELECTRIC                  301 E. 1ST STREET                HEREFORD            TX            79045
                          (562) 789-9611   (562) 789-9711   AGILIS MOBILITY SYSTEMS                   12405 SLAUSON AVE. SUITE A       WHITTIER            CA            90606
            C             (908) 241-6930   (908) 241-6931   AIR & ELECTRIC TOOL SERVICE               130 WEST 3RD AVENUE              ROSELLE             NJ             7203
            U             (714) 475-6690   (714) 475-6692   AIR & POWER TOOL SPECIALISTS              12025 170TH STREET               ARTESIA             CA            90701
            U             (800) 998-1974   (909) 629-3236   AIR CLEANING SYSTEMS                      1966 W. HOLT AVENUE              POMONA              CA            91768
                          (541) 461-1714   (541 461-8865    AIR TOOL MAINTENANCE                      420 RIVER ROAD                   EUGENE              OR            97404
    No Longer in Bus      (336) 835-3093   (336) 835-3093   AIR TOOL SERVICE CTR                      587 COOL SPRINGS CHURCH RD       ELKIN               NC            28621
            U             (305) 770-3841   (305) 652-6408   AIR-EZE SCIENTIFIC SERVICES               2034 THOMAS ST.                  HOLLYWOOD           FL            33020
            U             (817) 354-4144   (817) 354-1667   AIRLINE COMPONENT PARTS LLC               1111 STANLEY DR.                 EULESS              TX            76040
            U             (303) 355-2391   (303) 355-6572   AIS INDUSTRIAL CONST. SUP.                P O Box 172169                   Denver              CO            80217
            C             (503) 249-2900   (503) 249-3874   AKHURST MACHINERY INC                     2225 NORTH WILLIAMS              PORTLAND            OR            97227
            U             (330) 384-6470   (330) 384-1914   AKRON GENERAL MEDICAL CTR                 400 WABASH AVE                   AKRON               OH            44307
                          (805) 650-9003   (805) 650-9023   AL-KAR TOOL REPAIR *                      1746-F S VICTORIA AVE., STE413   VENTURA             CA            93003
            U             (650) 968-1905   (650) 968-3866   AL-TAR SERVICES                           740 SIERRA VISTA AVE. SUITE H    MOUNTAIN VIEW       CA            94043
            C             (205) 592-8944   (205) 592-8953   ALABAMA CONSTRUCTION SUPPLY*              4900 5TH AVE SOUTH               BIRMINGHAM          AL            35232
            C             (205) 251-8156   (205) 592-8953   ALABAMA JACK CO INC                       1140 5TH AVE N                   BIRMINGHAM          AL            35203
            U             (336) 538-7761   (336) 538-7722   ALAMANCE REGIONAL MEDICAL CTR             P.O. BOX 202                     BURLINGTON          NC            27215
                          (210) 520-6518   (210) 520-6518   ALAMO MEDREP                              9354 BRUSHY POINT                SAN ANTONIO         TX            78250
            U             (907) 696-3704   (907) 696-3706   ALASKA VETERINARY PATHOLOGY               P.O. BOX 773072                  EAGLE RIVER         AK            99577
            C             (210) 674-6950   (210) 674-6954   ALCO RENT ALL INC                         1505 NW 36TH STREET              SAN ANTONIO         TX            78228
            U             (630) 655-1900   (630) 655-7173   ALCO SALES & SERVICE CO.                  6851 HIGH GROVE BLVD.            BURR RIDGE          IL            60527
            U             (949) 552-7617   (949) 552-6486   ALEX INTERNATIONAL                        4641 CHARNOCK DRIVE              IRVINE              CA            92604
    No Longer in Bus      (651) 697-0541   (651) 697-0944   ALEXANDER PARKER PHARMACEUTICA            2665 LONG LAKE ROAD SUITE 330    ROSEVILLE           MN            55113
            U             (559) 686-4532   (559) 686-5834   ALEXANDERS ELECTRIC MOTOR SHOP            996 NO J ST                      TULARE              CA            93274
            U             (847) 437-5500   (630) 285-1615   ALEXIAN BROTHERS MEDICAL CTR              800 BIESTERFIELD ROAD            ELK GROVE VILLAGE   IL            60007
            C             (818) 785-9306   (818) 785-0958   ALL AMERICAN AIR COMPRESSOR CO            5927 KESTER AVENUE               VAN NUYS            CA            91411
            C             (800) 688-2323   (325) 653-8714   ALL AMERICAN PUMP & MACH INC              1310 N BELL ST                   SAN ANGELO          TX       76903-4705
            U             (253) 845-1938   (253)845-6141    ALL ELECTRIC MOTOR                        5507 Milwaukee Ave E             PUYALLUP            WA       98372-3599
            U             (530) 888-6211   (530) 888-0869   ALL ELECTRIC MOTOR                        1452 CANAL STREET                AUBURN              CA            95603
                          (253) 845-1938   253-307-3487     ALL ELECTRIC MOTOR                        5507 MILWAUKEE AVE E             PUYALLUP            WA       98372-3599
            C             (503) 255-5005   (503) 255-5010   ALL IN ONE MOBILITY                       12833 N.E. AIRPORT WAY           PORTLAND            OR            97230
            U             (803) 779-2011   (803) 779-4678   ALL MEDICAL, INC.,                        2011 HAMPTON ST.                 COLUMBIA            SC            29204
    No Longer in Bus      (913) 432-3200   (913) 789-8902   ALL METRO TOOL REPAIR                     1232A SOUTHWEST BLVD             KANSAS CITY         KS            66103
            U             (318) 221-8315   (318) 221-8314   ALL PHASE MOTOR WORKS INC                 1616 MARKET ST                   SHREVEPORT          LA            71101
                          (847) 301-4000   (847) 301-4040   ALL POWER TOOL                            2130 PALMER DRIVE                SCHAUMBERG          IL            60173
            C             (818) 340-0974   (818) 340-5553   ALL SAFE ELECTRIC INC                     7057 CANOGA AVE                  CANOGA PARK         CA            91303
            U             (707) 429-3884   (707) 429-5285   ALL STAR RENTS(dba) many locat            FAIRFIELD RENTAL SERVICE         Fairfield           CA            94533
            C             (559) 252-2879   (559) 637-7555   ALL TOOL SERVICE & SUPPLY                 3780 KILROY AIRPORT WAY #110     FRESNO              CA            93706
            U             (559) 252-2879   (559) 255-7492   ALL TOOL SERVICE & SUPPLY                 2716 S. CHERRY AVE               FRESNO              CA            93706
            C             (808) 329-0516   (808) 329-0876   ALL TRADE INDUSTRIAL SUPPLY               73-5563 MAIAU ST                 KAILUA KONA         HI            96740




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            C               (626) 572-4287   (626) 572-0562   ALL TRADES SUPPLY                     3241 ISABEL AVENUE              ROSEMEAD           CA            91770
            C               (480) 894-8976   (480) 894-8990   ALL TRADES TOOL REPAIR                2420 W 1ST STREET, SUITE 55     TEMPE              AZ            85281
            U               (913) 371-9999   (913) 371-9998   ALLEN ARMATURE & ELECTRIC CO          10 S 18TH ST                    KANSAS CITY        KS            66102
            C               (650) 323-6155   (650) 323-5814   ALLEN EQUIPMENT CO                    755 HAMILTON AVE                MENLO PARK         CA            94025
    No Longer in Bus        (956) 584-2000   (956) 584-2277   ALLEN INDUSTRIAL SUPPLY               1309 BUSINESS PARK DRIVE        MISSION            TX            78572
                            (626) 962-2712   (626) 960-2713   ALLEN TOOL COMPANY                    14160 LIVE OAK AVE., UNIT F     BALDWIN PARK       CA            91706
          U                 (318) 995-0880   (318) 995-0860   ALLENS ELECTRIC MOTOR SERVICE         P O BOX 700                     OIL CITY           LA            71061
          U                 (330) 829-4011   (330) 829-4198   ALLIANCE COMMUITY HOSPITAL            264 E. RICE STREET              ALLIANCE           OH            44601
          U                 562/921-0353     562/921-1404     ALLIANCE REHAB SERVICES               14535 VALLEY VIEW AVE SUITE U   SANTA FE SPRINGS   CA            90670
    No Longer in Bus        (502) 629-2154   (502) 629-8247   ALLIANT HEALTH SYSTEM                 PO BOX 35070                    LOUISVILLE         KY            40232
         U, C               (501) 474-5271   (501) 474-0193   ALLIED ELECTRICAL & POWER INC         2320 INDUSTRIAL PARK ROAD       VAN BUREN          AR       72956-1245
         U, C               (340) 775-5134   (340) 714-5200   ALLIED RENTAL CENTER                  Signature confirm required      ST THOMAS          VI              802
         U, C               (651) 635-4468   (651) 638-0357   ALLINA-CES                            1895 W COUNTY ROAD C            ROSEVILLE          MN            55113
          U                 (714) 521-9800   (714) 670-7632   ALLOY DIE CASTING                     P O BOX 5073                    BUENA PARK         CA       90622-5073
           C                (928) 757-1252   (928) 757-1254   ALLSTATE ELECTRIC KINGMAN DIV         4755 INTERSTATE WAY             KINGMAN            AZ            86401
           C                (602) 233-0500   (602) 233-0563   ALLSTATE ELECTRIC MOTOR CO INC        6025 W. MONROE STREET           PHOENIX            AZ       85043-3513
          U                 (313) 386-0130   (313) 386-2908   ALLSTATE INDUSTRIAL EQUIPMENT         4534 WEBSTER STREET             ECORSE             MI       48229-0129
          U                 (954) 981-1414   (954) 981-0200   ALLTOOL RENTAL CO                     KELLER & FAMILY CO              HOLLYWOOD          FL            33023
          U                 (209) 334-2464   (209) 334-4718   ALPHA ENTERPRISE CORP                 23 MAXWELL STREET               LODI               CA            95240
    No Longer in Bus        (909) 596-5400   (909) 398-1522   ALPHA SCIENTIFIC MEDICAL, INC.        1751 YEAGER AVE                 LA VERNE           CA            91750
           C                (530) 583-0600   (530) 583-0189   ALPINE POWER EQUIPMENT                2770 LAKE FOREST ROAD           TAHOE CITY         CA            96145
           C                (440) 232-7090   (440) 232-8798   ALS HIGH TECH INC                     135 NORTHFIELD ROAD             BEDFORD            OH            44146
          U                 (713) 892-8813   (713) 862-3926   ALSAY-TEXAS CORP                      1233 W 34TH STREET              HOUSTON            TX            77018
           C                (408) 422-7447   (408) 422-3860   ALSOP ELECTRIC MOTOR SHOP             805 VERTIN AVENUE               SALINAS            CA            93901
          U                 (510) 204-1399   (510) 204-4220   ALTA BATES MEDICAL CTR.               350 HAWTHORNE AVE.              OAKLAND            CA       94609-3108
           C                (619) 224-2720   619-258-2565     ALTERNATE SOURCE IND TOOL *           P O BOX 710881                  SANTEE             CA       92072-0881
                            (949) 768-5416   (949) 859-2892   ALTERNATE TRANSPORTATION              22336 CAMINITO ESCOBEDO         LAGUNA HILLS       CA            92653
          U                 (978) 251-7077   (978) 251-7252   ALTERNATIVE CARE PROVIDERS            51 MIDDLESEX ST., UNIT 103      NORTH CHELMSFORD   MA             1863
          U                 (814) 946-2135   (814) 946-7733   ALTOONA HOSPITAL                      620 HOWARD AVE                  ALTOONA            PA            16601
           C                619-440-5531     619-387-1862     ALTURDYNE POWER SYSTEMS, LLC.         660 STEELE ST                   El Cajon           CA            92020
           C                (907) 222-9500   (907) 222-9501   ALUTIIQ, LLC **                       3909 ARCTIC BLVD, STE 400       Anchorage          AK            99503
    No Longer in Bus        (310) 644-4001   (310) 644-5153   AMERICAN APPAREL                      12537 CELISE AVENUE             HAWTHORNE'         CA            90250
          U                 (318) 222-0746   (318) 222-0724   AMERICAN ARMATURE & POWER TOOL        2044 TEXAS AVE                  SHREVEPORT         LA            71103
           C                (419) 448-1926   (419) 448-1950   AMERICAN ARMATURE CORP                980 MORGAN AVE                  TIFFIN             OH            44883
          U                 (714) 898-9951   (714) 895-9143   AMERICAN AUTOMATED ENGINEERING        dba AAE AEROSPACE               Huntington Beach   CA            92649
          U                 (913) 383-3456   (913) 383-3797   AMERICAN CARE EQUIPMENT               8116 NEWTON STREET              OVERLAND PARK      KS            66204
          U                 (620) 343-3821   (620) 343-9051   AMERICAN ELECTRIC CO (CED)            510 FUNSTON STREET              EMPORIA            KS            66801
           C                (760) 591-3503   (760) 591-3561   AMERICAN GRANITE RESOURCES, IN        132 N LAS POSAS ROAD, SUITE A   SAN MARCOS         CA            92069
    No Longer in Bus        (914) 789-7104   (914) 592-6317   AMERICAN HEALTH FOUND                 ONE DANA ROAD                   VALHALLA           NY            10595
          U                 (951) 686-3980   (909) 682-0203   AMERICAN HOME HEALTH CARE             6710 Brockton Avenue            RIVERSIDE          CA            92506
          U                 (909) 686-3980   (909) 686-7911   AMERICAN HOME HEALTH CARE             6710 BROCKTON AVE.              RIVERSIDE          CA            92506
                            (909) 686-3980   (909) 686-7911   AMERICAN HOME HEALTH CARE             6710 BROCKTON AVE.              RIVERSIDE          CA            92506
    No Longer in Bus        (580) 298-3669   (580) 298-6001   AMERICAN HOMEPATIENT                  120 N HIGH ST                   ANTLERS            OK            74523
    No Longer in Bus        (248) 332-6688   (248) 338-6361   AMERICAN MEDICAL SERVICES             825 W HURON ST                  PONITAC            MI            48341
                            770/419-3839     770/792-8181     AMERICAN MEDTECH SERVICES, INC        8110 TROON CIRCLE, STE 100      AUSTELL            GA            30168
           U                (270) 469-1391   (270) 469-1392   AMERICAN MOBILITY PRODUCTS            124 OLD US 68                   CAMPBELLSVILLE     KY            42718
           U                (562) 906-1655   (562) 906-1654   AMERICAN MONORAIL OF CA               10805 PAINTER AVENUE            SANTA FE SPRINGS   CA            90670




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            U               (909) 390-5288   (909) 390-5293   AMERICAN PRESTO CORP                      4001 E. SANTA ANA STREET         ONTARIO            CA            91761
            U               (787) 756-6616   (787) 756-8582   AMERICAN RENTAL TOOLS                     233 ELEANOR ROOSEVELT STREET     SAN JUAN           PR              918
            U               972-801-9909     (972) 801-9920   AMERICAN TOOL & FASTENER                  11065 PETAL ST.                  Dallas             TX            75238
            C               (978) 683-6207   (978) 683-6207   AMERICAN TOOL & SHARPENING SV             132 SO BROADWAY                  LAWRENCE           MA             1843
    No Longer in Bus        (916) 919-3559   (916) 652-8808   AMERICAN TOOL REPAIR                      4235 PACIFIC ST., UNIT E         Rocklin            CA            95677
            U               (310) 763-5500   (310) 763-5851   AMERICO INDUSTRIAL SUPPLY                 1070 E DOMINGUEZ ST., UNIT B     CARSON             CA            90746
            U               (562) 200-7700   (562) 430-4774   AMONIX, INC                               1709 APOLLO CT                   SEAL BEACH         CA            90740
                            (702) 939-2336   (702) 261-0522   AMPAM - LAS VEGAS                         5040 SOBB AVENUE                 LAS VEGAS          NV            89118
           U                (410) 848-8900   (410) 848-5233   ANCHOR PHARMACY #111                      205 WASHINGTON HEIGHTS MED CTR   WESTMINSTER        MD            21157
           U                (800) 478-4200   (907) 278-2013   ANCHORAGE DAILY NEWS                      PO BOX 149001                    ANCHORAGE          AK       99514-9001
           U                (541) 485-2800   (541) 485-7867   ANCO FASTENER SALES, INC                  2130 W. 6TH AVE.                 EUGENE             OR            97402
           U                (864) 261-1403   (864) 261-1179   ANDERSON AREA MEDICAL CTR                 800 NORTH FANT STREET            ANDERSON           SC            29621
           U                (559) 665-4477   (559) 665-3212   ANDERSON PUMP COMPANY INC                 24719 ROBERTSON BLVD.            CHOWCHILLA         CA            93610
           U                (310) 768-1677   (310) 768-1613   ANDERSON REPAIR                           1524 W 178TH STREET              GARDENA            CA            90248
           C                (310) 320-9700   (310) 212-7101   ANDERSON SUPPLY INC                       22107 SOUTH VERMONT AVENUE       TORRANCE           CA            90502
          C, U              (562) 437-0445   (562) 437-4795   ANDO ELECTRIC MOTORS                      1999 W ANAHEIM ST                LONG BEACH         CA            90813
           U                (209) 521-0030   (209) 524-5945   ANDREWS ELECTRIC MOTOR WORKS              1603 MONO DR                     MODESTO            CA            95354
           U                603/752-2200     603/752-2376     ANDROSCOGGIN VALLEY HOSPITAL              59 PAGE HILL ROAD                BERLIN             NH             3570
           C                (904) 471-2991   (904) 471-7580   ANDY'S TAYLORS RENTAL                     J-MAR, INC                       ST AUGUSTINE       FL            32080
           C                (562) 692-0876   (562) 699-2115   ANGELES WELDING SERVICES                  9747 S NORWALK BLVD              SANTA FE SPRINGS   CA            90670
           U                (970) 259-3020   (970) 259-9766   ANIMAS ORTHOPEDIC ASSOCIATES              575 RIVERGATE LANE, SUITE 105    DURANGO            CO            81301
           U                (410) 267-1156   (410) 267-1199   ANNE ARUNDEL MEDICAL CENTER               64 FRANKLIN STREET               ANNAPOLIS          MD            21401
           U                (847) 307-4107   (847) 307-4103   ANODYNE CORP.                             1136 ROSE ROAD                   LAKE ZURICH        IL            60047
           U                (915) 823-3231   (915) 823-2574   ANSON GENERAL HOSPITAL                    ACCOUNTS PAYABLE                 ANSON              TX            79501
           U                (760) 244-9349   (760) 244-3284   APEX RENTALS                              11286 I AVENUE                   HESPERIA           CA            92345
                            (775) 329-3076   (775) 329-8981   APEX SAW WORKS                            570 KIETZKE LANE                 RENO               NV            89502
           U                562-309-0369     562-309-0410     APFFELS FINE COFFEES                      PO BOX 2506                      Santa Fe Springs   CA            90670
           U                (818) 713-1874   (818) 713-0879   APGUARD MEDICAL INC.                      6325 DE SOTO AVE. - UNIT K       WOODLAND HILLS     CA            91367
           U                814-474-2207     814-474-2208     API SYSTEMS INC                           8031 AVONIA ROAD                 Fairview           PA            16415
           C                320-251-6461     320-251-5816     APPLIANCE REPAIR CENTER                   1807 THIRD STREET NORTH          Saint Cloud        MN            56303
           U                (408) 371-8853   (408) 371-8854   APPLIANCE REPAIR EXPRESS                  14894 CAMDEN AVENUE              SAN JOSE           CA            95124
           U                (602) 282-1417   (602) 243-6525   APRIA HEALTHCARE                          2202 E. UNIVERSITY               PHOENIX            AZ            85034
                            (818) 566-7254   (818) 566-7489   AQUA VITAE                                1146 N. CENTRAL AVE. #302        GLENDALE           CA            91202
          U                 201/955-7081     201/955-7747     ARAMARK - WEST HUDSON HOSPITAL            206 BERGEN AVE.                  KEARNY             NJ             7032
    No Longer in Bus        (704) 948-5737   (704) 948-5778   ARAMARK / CTS                             10510 TWIN LAKES PARKWAY         CHARLOTTE          NC            28269
          U                 (720) 874-3625   (720) 874-3627   ARAPAHOE COUNTY CORONERS OFF              13101 E. BRONCOS PARKWAY         ENGLEWOOD          CO            80112
          U                 (323) 876-7100   (323) 876-1850   ARBUCKLE ELECTRIC INC                     7548 SANTA MONICA BLVD           WEST HOLLYWOOD     CA            90046
          U                 (760) 480-6604   (760) 480-6687   ARCADE AMUSEMENTS                         802 W. WASHINGTON AVE. SUITE E   ESCONDIDO          CA            92025
          U                 (912) 228-2722   (912) 228-8590   ARCHBOLD MEDICAL CENTER                   P.O. BOX 1018                    THOMASVILLE        GA            31799
           C                (630) 252-4525   (630) 252-9843   ARGONNE NATIONAL LAB                      9700 SOUTH CASS AVENUE           ARGONNE            IL            60439
          U                 (602) 230-1400   (602) 230-7676   ARIZONA ORTHOPEDIC & FRACTURE             444 WEST OSBORN ROAD STE 200     PHOENIX            AZ            85013
           C                (501) 372-1493   (501) 372-1495   ARKANSAS FASTENING SYSTEMS                417 COLLINS                      LITTLE ROCK        AR            72202
    No Longer in Bus        (508) 580-4245   (508) 580-1264   ARLEY CORPORATION                         1115 W. CHESTNUT STREET          BROCKTON           MA             2301
          U                 (801) 489-8911   (801) 489-5552   ARLINGTON SCIENTIFIC, INC.                1840 NORTH TECHNOLOGY DRIVE      SPRINGVILLE        UT            84663
                            (604) 879-6141   (604) 879-6974   ARMATURE ELECTRIC LTD                     3811 N. FRAIZER WAY              BURNABY            BC           V5J 5J2
           U                (713) 697-8436   (713) 697-8442   ARMATURE WORKS INC                        130 FRELS LANE                   HOUSTON            TX            77076
           U                (410) 633-6200   (410) 633-7559   ARONSON MEDICAL & RESPIRATORY             7826 WISE AVENUE                 BALTIMORE          MD            21222




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                            (608) 873-8659   (608) 873-8897   ARPI OF USA                               140-2 BUSINESS PARK CIRCLE       STOUGHTON          WI            53589
           U                (619) 448-2512   (619) 448-2164   ARROW IMAGING, INC.                       1937 FRIENDSHIP DR. #F           EL CAJON           CA            92020
           U                (612) 383-0570   (612) 383-0570   ARROW LABORATORY SPECIALISTS              11315 42ND PLACE NORTH           PLYMOUTH           MN            55441
           C                (562) 921-8521   (562) 407-5182   ARROWHEAD ELECTRIC                        13950 ROSECRANS AVE. #. A        SANTA FE SPRING    CA            90670
           U                (801) 583-2787   (801) 583-2712   ARUP LABORATORIES                         500 CHIPETA WAY                  SALT LAKE CITY     UT            84108
           C                702-459-2594     702-459-2571     ASHLAN CONCRETE CUTTING                   2632 ABELS LANE                  Las Vegas          NV            89115
           C                (423) 983-2367   (423) 983-9043   ASSOCIATED ELECTRIC MOTOR SVCS            820 BINFIELD RD                  MARYVILLE          TN            37802
           U                (562) 921-9938   (562) 921-0439   ASSOCIATED GEAR                           13650 EAST BORA DR.              SANTA FE SPRINGS   CA            90670
                            (561) 998-0558   (561) 241-7060   AT HOME MEDICAL SUPPLY                    1141 HOLLAND DR. #12.            BOCA RATON         FL            33487
          U                 (913) 367-6600   (913) 367-6658   ATCHISON HOSPITAL                         1301 N.2ND STREET                ATCHISON           KS            66002
          U                 (310) 631-3400   (310) 885-5296   ATHEARN INC                               19010 LAUREL PARK RD             COMPTON            CA            90220
          U                 (952) 351-3000   (801) 251-5931   ATK ALLIANT TECHSYSTEMS *****             ACCOUNTS PAYABLE                 MAGNA              UT       84044-0098
    No Longer in Bus        (215) 624-0800   (215) 333-8662   ATLANTIC ELECTRIC MOTOR / AME             7347 STATE ROAD                  PHILADELPHIA       PA            19136
           C                (859) 485-7870   (859) 485-7873   ATLAS ELECTRIC MOTOR SERVICE              76 CUMMINGS DRIVE                WALTON             KY            41094
          U                 (309) 693-3400   (309) 693-4164   ATS ADVANCE TECH SVCS***                  8201 N. UNIVERSITY               PEORIA             IL            61615
          U                 (330) 438-6331   (330) 453-4457   AULTMAN HOSPITAL                          2600 SIXTH STREET S.W.           CANTON             OH            44710
           C                (512) 312-0088   (512) 312-0988   AUSTIN ARMATURE WORKS                     304 COMMERCIAL DRIVE             BUDA               TX            78610
           C                (775) 359-6584   (775) 359-1783   AUTO AND TRUCK ELECTRIC., INC             1267 GATOR WAY                   SPARKS             NV            89431
           C                (775) 329-0707   (775) 329-0447   AUTO DIESEL ELECTRIC                      N C AUTO PARTS                   RENO               NV            89502
           C                (573) 888-9777   (573) 886-0790   AUTOMATIC TOOL & FASTENER INC             1809 SANTA FE PLACE              COLUMBIA           MO            65202
          U                 626-812-7799     626-812-4488     AUTOMATION SOLUTIONS, INC                 5277 N VINCENT ST. #45           Baldwin Park       CA            91706
    No Longer in Bus        (714) 953-5663   (714) 953-5669   AVALON DISTRIBUTING                       1701 E EDINGER AVE., BLDG I      SANTA ANA          CA            92705
           C                (619) 582-2245   (619) 582-2644   AZTEC RENTALS INC                         6602 UNIVERSITY AVENUE           SAN DIEGO          CA            92115
          U                 (918) 583-6274   (918) 583-6079   B & B ELECTRIC CO                         501 N TRENTON                    TULSA              OK            74120
           C                (316) 267-1238   (316) 267-0599   B & B ELECTRIC MOTOR CO                   332 LULU                         WICHITA            KS            67211
           C                435-703-9375     435-703-9376     B & B PUMPS AND MOTORS                    988 W SUNSET BLVD, SOUTH         Saint George       UT            84770
    No Longer in Bus        (828) 646-0500   (828) 646-0500   B & B RENTAL INC                          35 NEW CLYDE HWY                 CANTON             NC            28716
                            (214) 321-4111   (214) 321-4169   B & B SALES                               3636 N BUCKNER BLVD              DALLAS             TX            75228
           C                (281) 485-2461   (281) 485-8559   B & G ELECTRIC MOTOR SERVICE              P O BOX 1474                     PEARLAND           TX       77588-1477
           U                (360) 802-0363   (360) 802-1400   B & G INDUSTRIES, INC                     501 GRIFFIN AVENUE               ENUMCLAW           WA            98022
           C                (812) 522-5607   (812) 522-5313   B & H ELECTRIC AND SUPPLY                 740-C AVENUE                     SEYMOUR            IN            47274
                            (305) 633-5399   (305) 633-5660   B & H EQUIPMENT                           3300 NW 38 STREET                MIAMI              FL            33142
    No Longer in Bus        (203) 734-1695   (203) 732-2438   B & J ELECTRIC MOTOR                      30 MAPLE STREET                  ANSONIA            CT             6401
    No Longer in Bus        (575) 894-1061   575 740-0918     B & J ELECTRIC MTR/POWER TOOL             712 N KRUGER                     TRUTH/CONSEQNCS    NM            87901
           C                (818) 965-5040   (818) 965-0542   B & K ELECTRIC WHOLESALE *                17110 E GALE AVE                 INDUSTRY           CA            91744
    No Longer in Bus        (714) 850-9326   (714) 850-9816   B & R MEDICAL EQUIPMENT                   2520 SOUTH FAIRVIEW AVE-STE A1   SANTA ANA          CA       92704-5334
           C                (626) 358-1836   (626) 303-5448   B & W INDUSTRIAL SALES CO INC             1065 HAMILTON ROAD               DUARTE             CA            91010
           C                (606) 525-8715   (606) 525-0993   B & W SUPPLY                              7108 DIXIE HWY                   FLORENCE           KY            41042
           C                (619) 748-3722   (619) 748-2663   B J RENTAL/RENTX                          13044 POWEY ROAD                 POWAY              CA            92064
           C                (760) 789-0931   (760) 789-0814   B J RENTALS/RENTX                         2055 MAIN STREET                 RAMONA             CA            92065
                            (206) 931-0603   (206) 931-3446   B J s PARTS & SERVICE *                   P O BOX 4248                     KENT               WA            98032
          U                 (626) 419-6290   (626) 969-8198   B K INDUSTRIAL RESOURCES                  939 N ORANGE AVENUE              AZUSA              CA            91702
    No Longer in Bus        (206) 767-4449   (206) 767-4474   B.C. WHEEL COMPANY                        6134 6TH AVE S.                  SEATTLE            WA       98108-3308
          U                 (330) 315-1259   (330) 762-5505   B.W. ROGERS CO.                           71 CEDAR STREET                  AKRON              OH            44307
           C                (336) 766-7816   (336) 766-7881   B/4 & AFTER SERVICE INC                                                    Clemmons           NC            27012
    No Longer in Bus        (415) 456-9210   (415) 456-1828   BACKS & BONES/HOME MED EQUIP.             917 C. STREET                    SAN RAFAEL         CA       94901-2805
           C                (937) 223-1914   (937) 223-1915   BAILEY FOOD MACHINES                      867 VALLEY STREET                DAYTON             OH            45404




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                            (502) 635-6348   (502) 635-6470   BAILEY TOOL & SUPPLY                      1338 SO SHELBY STREET          LOUISVILLE         KY            40217
           C                (562) 949-1054   (562) 949-2325   BAKE MARK (WESTCO)                        7351 CRIDER AVENUE             PICO RIVERA        CA            90660
           U                (870) 367-8676   (870) 367-1414   BAKER'S ELECTRICAL SUPPLIES               112 SOUTH EDWARDS STREET       MONTICELLO         AR            71655
                            (661) 327-2820   (661) 327-5069   BAKERSFIELD TOOL REPAIR *                 P O BOX 71207                  BAKERSFIELD        CA            93387
    No Longer in Bus        (562) 424-9444   (562) 988-0309   BALANCE ORTHOPAEDIC                       FOOT AND ANKLE CENTER          LONG BEACH         CA            90806
          U                 (916) 441-3023   (916) 451-0874   BALSHOR FLORIST                           2661 RIVERSIDE BLVD.           SACRAMENTO         CA            95818
    No Longer in Bus        (334) 973-2855   (334) 973-0548   BAMA POWER TOOL REPAIR SV                 11459 DAUPHIN ISLAND PKWY      THEODORE           AL            36582
                            (708) 455-6855   (708) 455-6860   BANAS SALES & SERVICE                     9729 W GRAND                   FRANKLIN PARK      IL            60131
          U                 (888) 272-3356   (937) 488-3038   BANNER HOME MEDICAL SUPPLY                2956 CEMETERY RD.              XENIA              OH       45385-9711
          U                 (785) 235-3070   (758) 862-1510   BANNER MOBILITY RESOURCES, INC            231C SE 53RD ST                TOPEKA             KS       66609-1020
           C                (623) 842-0800   (623) 842-4808   BANNER TOOL CO                            6741 N 57TH AVE                GLENDALE           AZ            85301
           C                (989) 345-3905   (989) 345-4888   BANNING ELECTRIC                          1963 URBAN RIDGE RD            WEST BRANCH        MI            48661
           C                (205) 620-8100   (205) 664-1125   BAPTIST HEALTH SYSTEM                     P.O. BOX 830605                BIRMINGHAM         AL       35283-0605
    No Longer in Bus        (423) 632-5001   (423) 632-5016   BAPTIST HOSPITAL                          PO BOX 1788                    KNOXVILLE          TN            37920
          U                 (810) 471-5400   (810) 471-0560   BARBARA BROWN & ASSOCIATES                24657 HALSTED ROAD             FARMINGTON HILL    MI            48335
           C                (562) 928-2570   (562) 806-2889   BARBER WELDING & MFG CO                   7171 SCOUT AVENUE              BELL GARDENS       CA            90201
    No Longer in Bus        (513) 548-0772   (513) 548-3487   BARGAS SALES & SERVICE                    4672 ST RT 121                 GREENVILLE         OH            45331
    No Longer in Bus        (973) 977-6737   (973) 977-6756   BARNERT HOSPITAL                          680 BROADWAY                   PATERSON           NJ             7514
                            (530) 542-3000   (530) 541-6104   BARTON MEMORIAL HOSPITAL                  P.O. BOX 9578                  SOUTH LAKE TAHOE   CA            96158
           U                (217) 479-3400   (217) 243-8553   BARTON W STONE CHRISTIAN HOME             873 GROVE STREET               JACKSONVILLE       IL            62650
           U                (812) 985-5900   (812) 985-9103   BAS Evansville, inc                       10424 Middle Mt. Vernon Road   Mount Vernon       IN            47620
           U                (503) 285-1855   (503) 285-0713   BASIC FIRE PROTECTION, INC                8135 NE MLK JR BLVD            PORTLAND           OR            97211
           U                (714) 744-4373   (714) 744-4363   BATAVIA WOODS MEDICAL COMPLEX             845 W. LA VETA, SUITE 110      ORANGE             CA            92868
           U                (660) 679-4135   (660) 679-6889   BATES COUNTY MEMORIAL                     615 W. NURSERY                 BUTLER             MO            64730
           U                (616) 966-8012   (616) 966-8437   BATTLE CREEK HEALTH SYSTEM                P.O. BOX 1595                  BATTLE CREEK       MI       49016-1595
           U                (870) 508-1440   (870) 508-1657   BAXTER REGIONAL MEDICAL CENTER            624 HOSPITAL DR.               MOUNTAIN HOME      AR            72653
           U                (408) 971-1230   (408) 971-1262   BAY AREA FLOOR MACHINE CO                 652 B CHARLES ST               SAN JOSE           CA            95112
                            (310) 326-5830   (310) 326-2638   BAY AREA RENTAL                           1624 W PACIFIC COAST HWY       HARBOR CITY        CA            90710
         C, U               (410) 437-5660   (410) 437-5880   BAY COUNTRY RENTALS                       8017 FORT SMALLWOOD RD         BALTIMORE          MD            21226
           C                (940) 458-4019   (940) 458-4122   BCS SWITCHGEAR, INC                       203 E. CHAPMAN DR              SANGER             TX            76266
          U                 (508) 995-1767   (508) 990-7810   BEACON LUMBER/RENTAL                      1069 SHAWMUT AVE               NEW BEDFORD        MA             2746
          U                 402/223-6600     402/223-7589     BEATRICE STATE DEV CENTER                 3000 LINCOLN BLVD              BEATRICE           NE            68310
          U                 (503) 684-6600   (503) 684-5084   BEAVERTON HONDA YAMAHA                    10380 SW CASCADE BLVD          TIGARD             OR            97223
          U                 (503) 644-2101   (503) 626-8698   BEAVERTON PHARMACY                        12250 S.W. CANYON ROAD         BEAVERTON          OR            97005
           C                (616) 269-3153   (616) 269-3689   BECKYS INDUSTRIAL SALES                   10880 COUNTY ROAD 633          BUCKLEY            MI            49620
           C                (313) 563-4521   (313) 563-3993   BEECH SERVICES, LLC                       2801 S BEECH DALY ROAD         DEARBORN           MI            48126
           C                (215) 779-7070   (215) 779-2452   BEELINE RENTALS                           3811 PERKIOMEN AVE             READING            PA            19606
           C                (303) 757-5661   (303) 758-5104   BELL PLUMBING AND HEATING                 2150 S ABILENE STREET          AURORA             CO            80014
           C                (562) 866-7518   (562) 867-8158   BELLFLOWER ELECTRIC SVCE                  10030 ARTESIA PL               BELLFLOWER         CA            90706
          U                 (617) 484-3888   (617) 489-5149   BELMONT MEDICAL SUPPLY CO.                185 BELMONT STREET             BELMONT            MA             2178
          U                 (323) 232-2371   (323) 232-1790   BENDER CCP, INC                           2150 E. 37TH STREET            Los Angeles        CA            90058
           C                (615) 331-3747   (615) 331-3078   BENEFAST INC.                             470 METROPLEX DRIVE STE.201    NASHVILLE          TN            37211
           C                (419) 668-6136   (419) 668-1960   BENNETT ELECTRIC, INC                     211 REPUBLIC STREET            NORWALK            OH            44857
          U                 402/398-6025     402/398-6804     BERGAN MERCY MEDICAL CENTER               7500 MERCY ROAD                OMAHA              NE            68124
    No Longer in Bus        (800) 562-6530   (425) 254-3243   BERGEN BRUNSWIG MEDICAL                   P.O. BOX 14214                 ORANGE             CA            92863
          U                 (630) 627-9090   (630) 620-8904   BERLANDS HOUSE OF TOOLS *                 1530 CENTRE CIRCLE             DOWNERS GROVE      IL            60015
           C                (714) 637-5550   (714) 637-8550   BEST INTERIORS INC                        2100 E VIA BURTON              ANAHEIM            CA            92806




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            C               (407) 831-2378   (407) 831-1935   BEST RENTAL CENTERS INC *                 1450 E HIGHWAY 436            ALTAMONTE SPRS    FL        32701-6003
            U               (617) 632-1185   (617) 754-2061   BETH ISRAEL DEACONESS M.C.                P.O. BOX 15074                BOSTON            MA              2215
            U               (561) 737-7733   (561) 364-8458   BETHESDA MEMORIAL HOSPITAL                2815 SOUTH SEACREST BLVD.     BOYNTON BEACH     FL             33435
            C               (323) 727-2887   (323) 727-2854   BEVERLY ORTHOPEDIC LABORATORY             237 E. BEVERLY BLVD           MONTEBELLO        CA             90640
                            (304) 263-9995   (304) 263-8193   BIEDLER ELECTRIC                          1390 CHARLES TOWN ROAD        MARTINSBURG       WV             25401
          U                 (909) 677-5405   (909) 677-8242   BIG D'S POWER EQUIPMENT                   41711 IVY STREET              MURRIETA          CA             92562
    No Longer in Bus        (775) 355-5811   (775) 355-5822   BIG JOHN'S DISCOUNT TOOLS                 52 GLENDALE AVENUE            SPARKS            NV             89431
          U                 (231) 796-6712   (231) 796-7588   BIG RAPIDS ORTHOPAEDICS                   650 LINDEN                    BIG RAPIDS        MI             49307
           C                (614) 446-4360   (614) 446-7384   BIG RIVER ELECTRIC INC                    299 UPPER RIVER RD            GALLIPOLIS        OH             45631
           C                510-638-8100     510-639-4053     BIGGE CRANE AND RIGGING CO.               10700 BIGGE AVENUE            San Leandro       CA             94577
          U                 (405) 232-4799   (405) 232-5264   BILL'S WELDING EQUIP REPAIR               2006 S W 15TH STREET          OKLAHOMA CITY     OK             73108
          U                 (586) 755-2300   (586) 755-2322   BINSON'S HOSPITAL SUPPLY                  26834 LAWRENCE                CENTER LINE       MI             48015
          U                 (801) 474-0900   (801) 474-0901   BIO-MED ENGINEERING, INC.                 3080 S. STATE STREET          SALT LAKE CITY    UT             84115
          U                 (787) 879-8155   (787) 879-8155   BIO-MEDICAL EQUIP REPAIR                  CALLE ANTONIO R.BARCELO #72   ARECIBO           PR               612
           C                (909) 625-8256   (909) 625-8318   BIO-MEDICAL SERVICES INC                  4950 SAN BERNARDINO STREET    Montclair         CA             91763
                            (770) 945-3117   (770) 945-3402   BIO-MEDICAL SERVICES, INC.                P.O. BOX 369                  SUWANEE           GA             30024
                            (706) 802-4669   (706) 624-2845   BIO-TECH                                  703 MARTHA BERRY BL.          ROME              GA             30165
           U                (508) 752-1099   (508) 752-0993   BIOACTIVES                                1 DIX ST.                     WORCESTER         MA              1609
                            (781) 341-1444   (781) 341-4028   BIOMATIC TECHNOLOGIES INC.                292 PAGE STREET UNIT H        STOUGHTON         MA              2072
    No Longer in Bus        (760) 735-3200   (760) 735-9605   BIOMED SERVICE & MEDICAL PROD.            352 ENGEL ST., STE. B         ESCONDIDO         CA             92029
          U                 (805) 736-0243   (805) 735-5963   BIOMED SVCS OF SANTA BARBARA              P.O. BOX 1409                 LOMPOC            CA             93436
          U                 (973) 663-3969   (973) 663-3976   BIOMED TECHNOLOGIES, INC                  231 ESPANONG ROAD             Lake Hopatcong    NJ              7849
    No Longer in Bus        (805) 489-6605   (805) 489-8643   BIOMEDICAL CLINICAL ENG.                  1451 SIERRA DR.               ARROYO GRANDE     CA             93420
    No Longer in Bus        (907) 456-3440   (907) 456-3440   BIOMEDICAL EQUIPMENT SVC                  510 JUNEAU AVE                FAIRBANKS         AK             99701
          U                 (806) 353-2571   (806) 354-9750   BIOMEDICAL SERVICES                       P.O. BOX 51022                AMARILLO          TX             79159
          U                 (225) 658-6455   (225) 658-2381   BIOMEDICAL SUPPORT SERVICES               P.O. BOX 1303                 ZACHARY           LA             70791
          U                 (805) 736-0243   (805) 735-5963   BIOMEDICAL SVCS OF SANTA BARB             P.O. BOX 1409                 LOMPOC            CA             93438
    No Longer in Bus        (405) 842-2517   (405) 842-3626   BIOMEDICAL TECHNOLOGIES, INC              7317 N. CLASSEN BLVD          OKLAHOMA CITY     OK             73116
          U                 (858) 271-8961   (858) 271-8963   BIOTECHNICAL SERVICES, INC.               9373 ACTIVITY ROAD STE J      SAN DIEGO         CA             92126
           C                (866) 510-6562   (866) 510-6562   BIP CORPORATION                           1605 GRAND AVENUE             SAN MARCOS        CA             92078
                            (636) 717-3600   (636) 717-3685   BJC CLINICAL ENGINEERING ADM              1537 LARKIN WILLIAMS ROAD     FENTON            MO             63026
                            (253) 473-6040   (253) 473-9341   BLACK & DECKER                            3630 S CEDAR #C               TACOMA            WA             98409
                            (314) 821-8740   (314) 821-5302   BLACK & DECKER / DEWALT                   11477 PAGE SERVICE DR         ST LOUIS          MO             63146
          U                 (502) 366-6002   (502) 366-6255   BLC INDUSTRIES                            P.O. BOX 14187                LOUISVILLE        KY        40214-4801
          U                 217-223-8400     217-223-5912     BLESSING HOSPITAL                         P.O. BOX 7005                 QUINCY            IL        62305-7005
           C                (513) 891-3491   (513) 791-8829   BLUE ASH EQUIP RENTAL CTR                 8970 BLUE ASH RD              CINCINNATI        OH             45242
           C                (707) 668-9770   (707) 668-9753   BLUE LAKE CASION & HOTEL                  P O BOX 1128                  BLUE LAKE         CA        95525-1128
           C                (828) 258-0800   (828) 258-0880   BLUE RIDGE ELECTRIC MTR REP               P O BOX 16557                 ASHEVILLE         NC             28816
          U                 (540) 638-8701   (540) 638-2017   BLUE RIDGE REHAB CENTER                   P.O. BOX 4904                 MARTINSVILLE      VA             24115
           C                (434) 316-9115   (434) 455-7166   BLUE RIDGE RESPIRATORY & MED              2225 LANGHORNE ROAD           LYNCHBURG         VA             24501
    No Longer in Bus        (214) 358-2363   (214) 358-3768   BLUEBONNET TOOL CO INC                    P O BOX 541145                DALLAS            TX        75354-1145
                            (508) 879-4144   (508) 875-8046   BMA FRAMINGHAM                            4 VERNON STREET               FRAMINGHAM        MA              1701
          U                 (214) 942-2900   (214) 942-3249   BMA OF DALLAS SOUTH                       ATT: ACCOUNTS PAYABLE         DALLAS            TX             75208
          U                 (214) 352-3553   (214) 352-2189   BMA SOUTH OAK CLIFF #1878                 WYNNEWOOD VILLAGE CENTER      DALLAS            TX             75224
           C                (306) 482-1720   (306) 482-1725   BMT NORTHWEST LLC/BROWN TANK              100 TOWER BLVD. SUITE 101     ELMA              WA             98541
          U                 (330) 545-6700   (330) 545-8601   BOARDMAN MEDICAL SUPPLY                   300 N. STATE STREET           GIRARD            OH             44420
    No Longer in Bus        (503) 233-6531   (503) 263-6774   BOB NAGEL DISTRIBUTING CO                 2101 S E 7TH AVENUE           PORTLAND          OR             97214




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                            (503) 267-3821   (503) 263-6774   BOBS MOTOR SHOP INC                       1129 S BROADWAY                COOS BAY          OR            97420
           C                (561) 368-7430   (561) 368-8224   BOCA MEDICAL SUPPLY, LLC                  OAKS MEDICAL COMPLEX           BOCA RATON        FL            33431
          U                 (217) 443-0022   (217) 443-0027   BODINE ELECTRIC OF DECATUR                1845 N 22ND ST                 DECATUR           IL            62525
          U                 (361) 594-2941   (361) 594-2349   BOEDEKER PRECISION, INC                   C/O BOEDEKER PLASTICS          SHINER            TX            77984
          U                 (208) 384-7288   (208) 331-5745   BOISE PAPER HOLDINGS(Tharco)              P O BOX 990050                 BOISE             ID       83799-0050
           C                (909) 921-1660   (909) 923-3319   BOMEL CONSTRUCTION CO *                   1894 N MAIN ST                 ORANGE            CA            92865
           C                (718) 654-8710   (718) 515-5821   BOSTON ROAD EQUIPMENT RENTALS             3211 BOSTON ROAD               BRONX             NY            10469
    No Longer in Bus        (801) 292-7331   (801) 296-1703   BOUNTIFUL TOOL REPAIR & SUPPLY            543 W 100 NORTH                BOUNTIFUL         UT            84010
    No Longer in Bus        (562) 490-0307   (562) 490-9660   BOWERS COMPANIES                          430 E. PACIFIC COAST HWY       LONG BEACH        CA            90806
    No Longer in Bus        (559) 686-3301   (559) 686-5557   BOYDS ELECTRIC MOTOR INC                  532 SO "M" STREET              TULARE            CA            93274
          U                 (253) 572-7292   253/883-5041     BPI INC                                   4813 PACIFIC HWY E.            FIFE              WA            98424
    No Longer in Bus        (253) 883-5040   (253) 883-5041   BPI MEDICAL                               4813 PACIFIC HWY E             FIFE              WA            98424
          U                 (814) 362-8552   (814) 368-7796   BRADFORD REGIONAL M.C.                    ATTN: ACCOUNTS PAYABLE         BRADFORD          PA            16701
           C                (423) 339-0075   (423) 339-0017   BRADLEY EQUIPMENT RENTALS                 1010 S LEE HWY                 CLEVELAND         TN       37311-5857
          U                 (515) 276-4414   (515) 276-5081   BRADLEY FASTENER & SUPPLY                 3917 66TH ST                   DES MOINES        IA       50322-2713
           C                (515) 331-0878   (515) 276-5081   BRADLEY TOOLS & FASTENERS INC             6250 NW BEAVER DR., #A4        JOHNSTON          IA            50131
           C                (361) 882-4381   (361) 882-4385   BRADLEYS INC                              P O BOX 308                    Gregory           TX            78359
          U                 (310) 984-2400   (310) 984-2467   BRAGG CRANE SERVICE *                     6251 PARAMOUNT BLVD            LONG BEACH        CA            90805
           C                (361) 854-1851   (361) 854-1812   BRAND APPLIANCE & MICROWAVE               2751 S STAPLES STREET          CORPUS CHRISTIE   TX            78404
          U                 (817) 838-5593   (817) 838-8937   BRANDON & CLARK, INC                      2475 E. LONG AVENUE            FORT WORTH        TX            76106
           C                (626) 960-4981   (626) 337-5075   BRANDON INTERNATIONAL                     5152 COMMERCE DRIVE            BALDWIN PARK      CA       91706-1450
           C                (512) 273-2282   (512) 273-2921   BRANNEN'S, INC. **                        P O BOX 339                    Mc DADE           TX            78650
           C                (916) 534-8969   (319) 583-3072   BRASSELER USA                             1050 Willow Creek Rd Ste 1,    SAVANNAH          GA            31419
           C                (805) 650-5209   (805) 289-1099   BRASSELER USA                             4837 McGRATH STREET SUITE J    VENTURA           CA            93003
                            (912) 927-8671   (912) 921-7555   BRASSELER USA                             ONE BRASSELER BLVD             SAVANNAH          GA            31419
           C                (714) 952-8324   (714) 952-0107   BRAVO TECH, INC                           4260 CERRITOS AVENUE           LOS ALAMITOS      CA            90720
    No Longer in Bus        (973) 728-6201   (973) 728-6202   BRAWLEY ALL SEASONS POWER EQP             54 MARSHALL HILL ROAD          WEST MILFORD      NJ             7480
    No Longer in Bus        (512) 869-7940   (512) 869-0352   BRAYS A TO Z RENTAL INC                   507 RIVER BEND DR              GEORGETOWN        TX            78628
           C                (317) 231-8080   (317) 231-8082   BREHOB CORPORATION *                      P O BOX 2023                   INDIANAPOLIS      IN            46206
           C                (800) 632-4451   (317) 231-8082   BREHOB ELECTRIC                           PO BOX 2023                    INDIANAPOLIS      IN            46206
           C                (513) 738-1808   (513) 738-1832   BRENCO                                    P O BOX 487                    ROSS              OH       45061-0487
          U                 (901) 448-4119   (901) 448-4084   BRIAN H. BOWLING                          3265 LAUREL CREEK              BARTLETT          TN            38134
           C                (310) 318-1191   (310) 937-4293   BRIAN'S HARDWOOD FLOORING, INC            2013 ARTESIA BLVD              Redondo Beach     CA            90278
          U                 (203) 384-4599   (203) 384-3587   BRIDGEPORT HOSPITAL                       P.O. BOX 55110                 BRIDGEPORT        CT             6610
         C, U               714-348-8689     714-279-8084     BRITISH AUTO ELECTRIC                     2722 E CARNIVAL AVE            Anaheim           CA            92806
          U                 (316) 264-8600   (316) 264-1999   BROADWAY HOME MEDICAL                     808 S. HILLSIDE                Wichita           KS            67211
           C                (763) 533-1680   (763) 533-3227   BROADWAY RENTAL EQUIPMENT CO              6800 W BROADWAY                MINNEAPOLIS       MN            55428
           C                (217) 472-8411   (217) 472-8421   BROCKHOUST SALES & SERVICE                212 CEDAR DRIVE, BOX 167       CHAPIN            IL            62628
          U                 (718) 901-2200   (718) 901-2285   BRONX TOOL & EQUIPMENT                    4295 THIRD AVENUE              BRONX             NY            10457
          U                 (718) 240-5175   (718) 240-5290   BROOKDALE HOSPITAL                        P.O. BOX 120321                BROOKLYN          NY            11212
          U                 703-938-4807     703-938-1273     BROOKE RENTAL CENTER                      321 MILL STREET N.E.           Vienna            VA       22180-4525
          U                 (209) 478-7847   (209) 956-3514   BROOKSIDE PODIATRY DR YABUMOTO            THE FOUNTAINS SUITE 203 WEST   STOCKTON          CA            95219
           C                (877) 628-8781   (877) 628-8727   BROOKSTONE EQUIPMENT SV                   1600 W KATELLA AVE             ORANGE            CA            92867
           C                (206) 244-3171   (206) 244-5489   BROSSON TOOL / BROTHERS & SONS            10808 MYERS WAY SOUTH          SEATTLE           WA            98168
          U                 (562) 920-9090   (562) 920-9596   BROTHERS JANITORIAL SUPPLY CO             16211 BELLFLOWER BLVD          BELLFLOWER        CA            90706

           U                (954) 583-9888   (954) 583-9866   BROWARD ARMATURE AND GENERATOR            340 SW 21ST TERRACE            FORT LAUDERDALE   FL             33312




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    No Longer in Bus      (954) 946-5950   (954) 943-8315   BROWARD MEDICAL SUPPLY                 911 E ATLANTIC BLVD              POMPANO BEACH      FL            33060
                          (310) 952-7290   (310) 952-7390   BROWN & ROOT                           P O BOX 4906                     CARSON             CA       90749-4906
            C             (208) 344-6581   (208) 344-6586   BROWN RENTAL INC                       2905 OVERLAND ROAD               BOISE              ID            83705
            C             (516) 484-6070   (516) 484-1255   BRUCKNER SUPPLY COMPANY                36 HARBOR PARK DRIVE             PORT WASHINGTON    NY            11050
            C             (513) 242-1236   (513) 641-5308   BRUENEMAN RENTALS INC                  1111 TENNESSEE AVE               CINCINNATI         OH            45229
            U             (800) 422-6786   (440) 255-7949   BRUNNER HEALTHCARE                     8444 MENTOR AVE                  MENTOR             OH            44060
            U             (631) 789-7050   (631) 789-5614   BRUNSWICK HOSPITAL CENTER              366 BROADWAY                     AMITYVILLE         NY            11701
            C             (979) 821-5860   (979) 821-5795   BRYAN TEXAS UTILITIES                  205 E 28TH STREET                BRYAN              TX            77805
            U             (661) 834-2700   (661) 834-0678   BS&E COMPANY INC                       6319 DISTRICT BLVD               Bakersfield        CA            93313
            C             (510) 452-4025   (510) 452-4027   BUCHANAN AUTO ELECTRIC                 2300 MANDELA PKWY                OAKLAND            CA            94607
            C             (217) 223-2955   (217) 223-3143   BUD & RAYS REPAIR                      701 N 5TH ST                     QUINCY             IL            62301
            U             (716) 887-4101   (716) 887-4373   BUFFALO GENERAL HOSPITAL               100 HIGH STREET                  BUFFALO            NY            14203
            C             (319) 366-8291   (319) 366-8294   BURESH EAST RENTAL                     2901 1ST AVENUE S.E.             CEDAR RAPIDS       IA            52402
    No Longer in Bus      (916) 335-5545   (916) 335-2867   BURNEY RENTAL CENTER                   37400 MOUNTAIN VIEW RD           BURNEY             CA            96013
            C             (412) 337-3586   (412) 274-6455   BURRELL RENTAL & SALES                 3251 LEECHBURG RD                LOWER BURRELL      PA            15068
            C             (903) 592-1557   (903) 592-4061   BURT ELECTRIC                          9763 CR 2285                     TYLER              TX            75707
            U             (334) 471-4455   (334) 471-4510   BUTLER & CO                            128 N BELTLINE HWY               MOBILE             AL            36607
    No Longer in Bus      (415) 431-5526   (415) 431-6430   BUZZELL ELECTRIC WORKS                 130 8TH STREET                   SAN FRANCISCO      CA            94103
                          (817) 834-6633   (817) 429-1135   C & D TOOL REPAIR *                    aka HARDWARE ELECTRICAL SUPPLY   FORT WORTH         TX            76117
                          (435) 564-8319   (435) 524-3561   C & G MAINTENANCE                      66 SOUTH SOLOMON STREET          FERRON             UT            84523
            C             (402) 677-9275   (402) 289-2193   C & S MOBILE TOOL REPAIR               646 S 215TH ST                   ELKHORN            NE            68022
            C             (501) 376-2310   (501) 376-0336   C & W TOOL & EQUIPMENT SUPPLY          1400 S MAIN ST                   LITTLE ROCK        AR            72202
            C             (517) 278-2611   (517) 278-8766   C E M SUPPLY, INC                      178 W GARFIELD ROAD              COLDWATER          MI            49036
    No Longer in Bus      (435) 789-2170   (435) 789-2175   C G ELECTRICAL SERVICES CO             1409 S 1500 E #8                 VERNAL             UT            84078
            C             (541) 664-4099   (541) 664-6896   C J RENTALS                            4460 TABLE ROCK ROAD #5          CENTRAL POINT      OR            97502
            C             (904) 215-0700   (904) 215-0710   C J'S TOOLS & FASTENERS, INC           P O BOX 843 (MAIL ONLY)          ORANGE PARK        FL       32067-0843
                          (317) 852-7394   (317) 852-7860   C T POWER TOOL REPAIR                  5440 N COUNTY ROAD 900 E         BROWNSBURG         IN            46112
    No Longer in Bus      (814) 443-3194   (814) 445-3894   C. E. SERVICES, INC.                   368 REBECCA STREET               SOMERSET           PA            15501
                          (973) 470-3000   (973) 470-3411   C.E.M.C.                               211 PENNINGTON AVE.              PASSAIC            NJ             7055
    No Longer in Bus      (212) 995-7177   (212) 995-7498   CABRINI MEDICAL CENTER                 227 E. 20TH STREET               NEW YORK           NY            10003
            C             (626) 331-3361   (626) 966-6062   CACO PACIFIC CORP                      813 N. CUMMINGS ROAD             COVINA             CA       91724-2506
            C             (812) 466-9841   (812) 466-9842   CAHILLS RENTAL & SALES INC             2205 LAFAYETTE AVE               TERRE HAUTE        IN            47805
            U             (972) 247-4440   (972) 247-8991   CAJUN ELECTRIC                         P O BOX 2459                     RED OAK            TX       75154-2459
    No Longer in Bus      (805) 495-2111   (805) 371-9486   CAL U RENT OF THOUSAND OAKS            661 E THOUSAND OAKS BLVD         THOUSAND OAKS      CA            91360
            C             (213) 685-7100   (213) 727-0932   CAL-LIFT INC *                         P O BOX 22000                    LOS ANGELES        CA            90022
            U             (617) 623-7430   (617) 776-9393   CALEY & WHITMORE CORP.                 ATT: ACCOUNTS PAYABLE            SOMERVILLE         MA             2143
            U             (850) 674-5411   (850) 674-1649   CALHOUN-LIBERTY HOSPITAL               424 BURNS AVE                    BLOUNTSTOWN        FL            32424
    No Longer in Bus      (714) 448-1652   (714) 894-5456   CALIFORNIA BIOLOGICALS                 16835 ALGONQUIN ST #388          HUNTINGTON BEACH   CA            92649
            U             (562) 921-1223   (562) 921-3666   CALIFORNIA BOX CO                      13901 S CARMENITA ROAD           SANTA FE SPRNGS    CA       90670-4916
            C             714-777-8383     714-777-8382     CALIFORNIA BUTTON CO. LLC              P.O. BOX 17129                   Anaheim            CA            92817
            C             (626)569-8171    (626) 455-0010   CALIFORNIA COIL CO                     2523 SEAMAN AVE                  SOUTH EL MONTE     CA       91733-1983
            U             (408) 292-7500   (408) 292-4252   CALIFORNIA DRYWALL CO                  390 FLOYD ST                     SAN JOSE           CA            95110
            U             (626) 812-0545   (626) 815-8431   CALIFORNIA ELEC MTR SOURCE             451 S. IRWINDALE AVENUE          AZUSA              CA            91702
            C             (925) 827-1011   (925) 827-5409   CALIFORNIA ELECTRIC SERVCE INC         1170 G BURNETT AVE               CONCORD            CA            94520
                          (925) 689-9860   (925) 933-5031   CALIFORNIA MEDICAL SUPPLY              2490 ARNOLD INDUSTRIAL WAY       CONCORD            CA            94520
                          (510) 751-1513   (510) 782-7164   CALIFORNIA SERVICE TOOL INC            3875 BAY CENTER PLACE            HAYWARD            CA            94545
            C             (714) 966-1852   (714) 966-0104   CALIFORNIA STAGE & LIGHTING            3211 WEST MAC ARTHUR BLVD        SANTA ANA          CA            92704




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                             (213) 588-9201   (213) 727-0932   CALWESTERN SALES CORP              3344 LEONIS BLVD              LOS ANGELES        CA            90058
           C                 (601) 544-5512   (601) 544-5513   CAMERON ELECTRIC MOTOR CO INC      115 WEST RED STREET           HATTIESBURG        MS       39403-0328
           C                 (315) 593-8062   (315) 592-5963   CANFIELD MACHINE & TOOL CO         121 HOWARD ROAD               FULTON             NY            13069
           U                 (573) 634-4488   (573) 634-7789   CAPITAL MACHINE COMPANY INC        1101 INDUSTRIAL DRIVE         JEFFERSON CITY     MO            65109
           C                 (334) 264-2334   (334) 263-2635   CAPITOL CITY SHARPENING & SLS      915 S COURT ST                MONTGOMERY         AL            36104
           U                 (949) 240-4085   949-429-6042     CAPO BEACH EQUIPMENT RENTALS       34221 DOHENY PARK RD          CAPISTRANO BEACH   CA            92624
                             (714) 572-9900   (714) 572-9985   CARDINAL HEALTH/CATHOLIC HEALT     P O BOX 7052                  TROY               MI            48007
    No Longer in Bus         (787) 636-1000   (787) 703-1371   CARDIODENT                         PO BOX 4953 SUITE 2048        CAGUAS             PR              726
          U                  (740) 385-6177   (740) 385-0474   CARDIOPUMONARY CARE INC            PO BOX 997                    LOGAN              OH            43138
          U                  (503) 288-8174   (503) 288-8525   CARE MEDICAL                       1877 NE SEVENTH AVE           PORTLAND           OR            97212
                             (732) 739-8900   (732) 739-0316   CARES MEDICAL                      75 MANCHESTER AVE             KEYPORT            NJ             7735
           U                 (626) 831-9885   (626) 443-8120   CARL'S ELECTRIC, INC               4564 N PECK ROAD              EL MONTE           CA            91732
           U                 803/275-4486     803/275-3920     CARLISLE TIRE & WHEEL              P.O. BOX 9                    TRENTON            SC            29847
           U                 (619) 282-5995   (619) 282-6900   CARLS RENTALS                      2310 UNIVERSITY AVENUE        SAN DIEGO          CA            92104
           U                 (412) 268-4670   (412) 268-5895   CARNEGIE MELLON UNIV - ROBOTIC     FIELD ROBOTICS CENTER         PITTSBURGH         PA            15213
           C                 (206) 781-1827   (206) 781-1828   CARNITECH MAREL FOOD SYSTEMS       2001 W. GARFIELD STREET       SEATTLE            WA            98119
           U                 (517) 673-3141   (517) 673-8471   CARO COMMUNITY HOSPITAL            PO BOX 71                     CARO               MI            48723
           C                 (517) 673-5518   (517) 673-5016   CARO RENTAL                        466 ELLINGTON STREET          CARO               MI            48723
                             (520) 790-5300   (520) 748-2543   CARONDELET HLTH CARE               PO BOX 5926                   TUCSON             AZ            85703
           C                 (870) 994-3535   (870) 994-3545   CARPET EXPRESS                     PO BOX 279                    ASH FLAT           AR            72513
    No Longer in Bus         (818) 843-6886   (818) 840-8107   CARPET MILLS SERVICE               800 SOUTH FLOWER STREET       BURBANK            CA            91502
           C                 (520) 421-0222   (520) 421-0444   CASA GRANDE ELECTRIC MOTORS        807 E JIMMIE KERR BLVD        CASA GRANDE        AZ            85222
           C                 (607) 729-5278   (607) 797-0970   CASCADE ELECTRIC INC               416 COMMERCE RD               VESTAL             NY            13850
    No Longer in Bus         (210) 499-4600   (210) 499-4603   CASH SAVER RENTALS, INC            15327 SAN PEDRO               SAN ANTONIO        TX            78232
          U                  (517) 789-8153   (517) 789-8462   CASLER HARDWARE INC                125 N JACKSON ST              JACKSON            MI            49201
          U                  (562) 941-9244   (562) 941-9204   CASTLEROCK ENVIRONMENTAL,INC       10040 PAINTER AVE             SANTA FE SPRINGS   CA            90670
                             (714) 523-7000   (714) 523-8100   CATALINA FURNITURE                 40 E VERDUGO AVE              BURBANK            CA       91502-1931
           U                 270-444-2593     (859) 594-3155   CATHOLIC HEALTH INITIATIVE         LOURDES HOSPITAL              ERLANGER           KY       41018-1099
                             (270) 444-2593   (270) 415-3939   Catholic Health Initiatives        Lourdes Hospital              Erlanger           KY            41018
           C                 (417) 256-4711   (417) 256-9501   CAWVEYS ELECTRIC MOTOR SERVICE     115 E 2ND ST                  WEST PLAINS        MO            65775
           C                 (602) 426-1667   (602) 426-0125   CBS SOUTHWEST, INC                 3702 E MIAMI STREET           PHOENIX            AZ            85040
           U                 (516) 735-1204   (516) 735-1985   CCME, INC.                         105 GARDINERS AVE.            LEVITTOWN          NY            11756
           U                 (315) 789-4400   (315) 789-0376   CCN INTERNATIONAL                  200 LEHIGH STREET             GENEVA             NY            14456
           U                 (916) 454-4725   (916) 454-3961   CDP/CALIFORNIA DIAMOND PRODUCT     2836 REDDING AVENUE           SACRAMENTO         CA       95820-2121
           U                 (904) 202-5878   (904) 202-5030   CE-TECH, INC.                      800 PRUDENTIAL DR.            JACKSONVILLE       FL            32207
           U                 (310) 423-3194   (310) 385-9043   CEDARS-SINAI MEDICAL CENTER        P.O. BOX 48955                LOS ANGELES        CA            90048
           C                 (303) 592-3651   (303) 592-3661   CENTER RENTAL                      1385 UMATILLA ST              DENVER             CO            80204
           C                 (303) 482-9999   (303) 592-3661   CENTER RENTAL & SALES *            1301 E MULBERRY               FORT COLLINS       CO            80524
           U                 (516) 588-8911   (516) 588-2430   CENTEREACH PHARMACY & SURGICAL     2155 MIDDLE COUNTRY RD        CENTEREACH         NY            11720
                             (513) 563-7755   (513) 563-0768   CENTERS FOR FOOT & ANKLE CARE      10475 READING ROAD STE. 304   CINCINNATI         OH            45241
           U                 (501) 589-2553   (501) 589-3313   CENTRAL ARKANSAS TOOL SUPPLY       5099 HEBER SPRINGS ROAD       QUITMAN            AR            72131
           U                 (859) 260-6100   (859) 260-6699   CENTRAL BAPTIST HOSPITAL           1740 NICHOLASVILLE RD         LEXINGTON          KY            40503
           U                 (805) 466-0979   (805) 293-8777   CENTRAL COAST ORTHOPEDIC MED G     921 N Oak Park Blvd STE 204   PISMO BEACH        CA            93449
           C                 (620) 669-9000   (620) 669-9006   CENTRAL ELEC MTR SPECIALTIES       327 S. WALNUT                 HUTCHINSON         KS            67501
                             (508) 842-7280   (508) 842-4865   CENTRAL MASS TECH SERVICES         19 MAPLE AVE                  SHREWSBURY         MA             1545
           U                 (517) 772-6729   (517) 772-6868   CENTRAL MICHIGAN COMM HOSP         1221 SOUTH DRIVE              MOUNT PLEASANT     MI            48858
                             (641) 782-4061   (641) 782-4061   CENTRAL PLAINS ELECTRIC            1206 SMITH STREET             CRESTON            IA            50801




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            U                (512) 753-3591   (512) 753-3645   CENTRAL TEXAS MEDICAL CENTER           1301 Wonder World Dr           SAN MARCOS         TX            78666
            C                (308) 995-2123   (308) 995-5413   CENTRAL VALLEY ELECTRIC INC            1625 EAST HIGHWAY 6            HOLDREGE           NE            68949
            U                (814) 234-6151   (814) 231-7027   CENTRE COMMUNITY HOSPITAL              P.O. BOX 1289                  STATE COLLEGE      PA            16804
            U                (619) 224-1100   (619) 224-4247   CENTURUM                               7807 CONVOY COURT SUITE 101    San Diego          CA            92111
            U                (636) 926-9333   (636) 926-9777   CENTURY TOOL & EQUIPMENT               4013 S. OLD HIGHWAY 94,        SAINT PETERS       MO            63304
            C                (541) 389-4120   (541) 389-4120   CERTIFIED SPINDLE PREPARATION          C/O FRANK BRYAN                BEND               OR            97708
            C                (951) 276-9619   (951) 276-1460   CHAMPION ELECTRIC INC                  3950 GARNER ROAD               RIVERSIDE          CA            92501
    No Longer in Bus         (504) 568-3690   (504) 568-2339   CHARITY HOSPITAL                       1532 TULANE AVE.               NEW ORLEANS        LA            70112
    No Longer in Bus         (315) 433-0011   (315) 433-1580   CHARLES HALLER ENTERPRISES INC         4079 NEW COURT AVENUE          SYRACUSE           NY            13206
            U                (909) 946-6766   (909) 682-0203   CHARLES MEISNER, INC                   201-A SOUTH SIERRA PLACE       UPLAND             CA            91786
            C                (360) 377-3400   (360) 373-5822   CHARLESTON ELECTRIC MOTOR SVCE         901 N WYCOFF AVE               BREMERTON          WA            98310
    No Longer in Bus         (603) 886-5000   (603) 886-5127   CHARTER BROOKSIDE B.H.S.N.E.           29 NORTHWEST BLVD              NASHUA             NH             3063
            U                503-972-6773     (503) 232-9821   CHAS. H. DAY CO                        11405 S.E. 37TH AVE            MILWAUKIE          OR            97222
            C                (303) 979-4810   (303) 979-7268   CHATFIELD TIME RENTALS                 6641 WEST KEN CARYL ROAD       LITTLETON          CO            80128
            C                (423) 267-7665   (423) 756-4404   CHATTANOOGA ARMATURE WKS               1209 E 23RD STREET             CHATTANOOGA        TN            37408
            U                (509) 682-6113   (509) 682-3475   CHELAN COMMUNITY HOSPITAL              P.O. BOX 908                   CHELAN             WA            98816
            C                (248) 853-6020   (248) 853-7620   CHET'S RENT-ALL*                       2616 CROOKS ROAD               ROCHESTER HILLS    MI            48309
            U                (502) 361-6000   (859) 594-3145   CHI - CARITAS MEDICAL CENTER           3900 OLYMPIC BLVD. SUITE 400   ERLANGER           KY       41018-1099
            U                (847) 729-4211   (847) 729-4262   CHICAGO GASKET TEFLON PROD.            1445 KAYWOOD LANE              GLENVIEW           IL            60025
            U                (312) 726-0271   (312) 726-2136   CHICAGO ORTHOPAEDICS AND               SPORTS MEDICINE                CHICAGO            IL            60603
            U                (619) 232-2162   (619) 232-8555   CHICKS ELEC MTR SERVICE                3592 MAIN ST                   SAN DIEGO          CA            92113
            U                (530) 893-3030   (530) 894-0607   CHICO POWER EQUIPMENT                  2795 ESPALNADE                 CHICO              CA            95973
            C                (530) 891-9041   (530) 891-9041   CHICO TOOL REPAIR                      4616 CODY LANE                 FOREST RANCH       CA            95942
            U                (972) 289-1142   (972) 289-1564   CHIEF ELECTRIC MOTOR SERVICE           2205-B PEACHTREE ROAD          BALCH SPRINGS      TX            75180
            U                (561) 464-7378   (561) 464-2409   CHIEF MEDICAL EXAMINER                 2500 SOUTH 35TH STREET         FT. PIERCE         FL            34981
            U                (323) 724-7337   (323) 726-4700   CHILDREN'S HOSPITAL                    4650 Sunset Blvd. MS #47       Los Angeles        CA            90027
            U                (304) 263-9995   (303) 297-0650   CHILDREN'S HOSPITAL                    4200 E 9th Ave                 DENVER             CO            80218
            U                (215) 659-4215   (724) 225-4309   CHILDREN'S HOSPITAL                    3401 Civic Center Blvd         PHILADELPHIA       PA            19104
            U                (205) 939-9100   (205) 939-6060   CHILDREN'S HOSPITAL                    1601 5th Ave S                 BIRMINGHAM         AL            35233
            C                (520) 636-2026   (520) 778-7368   CHINO RENTALS                          1181 N HWY 89                  CHINO VALLEY       AZ            86323
            U                (510) 923-4868   (510) 923-7561   CHIRON CORPORATION                     4560 HORTON STREET             EMERYVILLE         CA            94608
            U                (714) 522-8123   (714) 522-8558   CHOICE TECHNICAL SERVICES              17517 FABRICA WAY #K           CERRITOS           CA            90701
            U                (919) 833-4499   (919) 833-6816   CHRIS SUPPLY COMPANY, INC              1640 SOUTH SAUNDERS ST         RALEIGH            NC            27603
                             (302) 733-4616   (302) 733-4640   CHRISTIANA CARE HLTH SVCS              PO BOX 2653                    WILMINGTON         DE            19805
                             (650) 367-5828   (650) 482-6122   CHW, INC.                              ATT: ACCOUNTS PAYABLE          SAN FRANCISCO      CA       94120-7707
           C                 (513) 563-6150   (513) 563-6120   CINCINNATI ELECTRIC                    9709 READING ROAD              CINCINNATI         OH            45215
           C                 (513) 621-2183   (513) 621-1910   CINCINNATI ELECTRIC REPAIR             2023 ELM ST                    CINCINNATI         OH       45202-4910
    No Longer in Bus         (818) 678-2276   (818) 678-2313   CINCINNATI MACHINE, LLC                13900 LAKESIDE CIRCLE          STERLING HEIGHTS   MI            48313
          U                  (281) 479-4555   (581) 479-4566   CIRCUIT BREAKER SALES & REP.           POST OFFICE BOX 1179           DEER PARK          TX            77536
          U                  (916) 444-2525   (916) 444-7619   CISCO AIR SYSTEMS INC                  214 27TH STREET                SACRAMENTO         CA            95816
           C                 (816) 842-7777   (816) 842-1601   CISCO CONSTRUCTION & IND SPLY          1901 MC GEE ST                 KANSAS CITY        MO            64108
          U                  859-254-5581     859-253-0121     CITY ELECTRIC MOTOR SHOP               631 KENNEDY RD                 LEXINGTON          KY            40511
           C                 (330) 747-2639   (330) 747-3205   CITY MACHINE TECHNOLOGIES INC*         773 WEST RAYEN AVENUE          YOUNGSTOWN         OH       44501-1466
          U                  (714) 754-5286   (714) 754-5124   CITY OF COSTA MESA                     99 FAIR DRIVE                  COSTA MESA         CA            92626
          U                  (301) 609-4355   (301) 609-4185   CIVISTA MEDICAL CENTER                 P.O. BOX 1070                  LA PLATA           MD            20646
           C                 562-907-1100     562-907-1105     CJI PROCESS SYSTEMS                    12000 CLARK STREET             SANTA FE SPRINGS   CA            90670
           C                 (503) 632-2053   (503) 632-2054   CLACKAMAS ELECTRIC MOTOR & TL          22011 S. BEAVERCREEK ROAD      BEAVERCREEK        OR            97004




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            U             (973) 450-2173   (973) 844-4924   CLARA MAASS MEDICAL CENTER         1 CLARA MAASS DRIVE              BELLVILLE          NJ             7109
            U             (800) 748-8321   (785) 823-7614   CLARE GENERATOR SERVICE            801 N 10TH                       SALINA             KS       67402-0543
                          (562) 941-2225   (562) 941-2373   CLARK FORKLIFT                     10620 SPRINGDALE AVE             SANTA FE SPRINGS   CA            90670
            U             (812) 283-2040   (812) 283-2194   CLARK MEMORIAL HOSPITAL            PO BOX 69                        JEFFERSONVILLE     IN            47130
            U             (859) 745-3548   (859) 745-3450   CLARK REGIONAL MEDICAL CENTER      1107 W. LEXINGTON AVE.           WINCHESTER         KY            40392
            C             (800) 569-8011   (330) 262-9126   CLARK-FOWLER ELECTRIC*             510 WEST HENRY STREET            WOOSTER            OH            44691
    No Longer in Bus      (562) 941-2225   (562) 941-2373   CLARKLIFT OF CALIFORNIA            10620 SPRINGDALE AVE             SANTA FE SPRINGS   CA            90670
            U             (406) 452-8428   (406) 452-8741   CLARKS ORTHOPEDIC                  513 FIRST AVE. SOUTH             GREAT FALLS        MT            59401
            C             (816) 826-3100   (816) 826-4597   CLARKS TOOL                        2907 W BROADWAY                  SEDALIA            MO            65301
            C             (816) 781-0700   (816) 781-4233   CLAY COUNTY ELECTRIC MTRS, INC     129 S GALLATIN                   LIBERTY            MO            64068
            C             (718) 501-0160   (718) 501-0162   CLEANING EQUIPMENT MAINT CORP      9502 DITMAS AVE                  BROOKLYN           NY            11236
            C             (213) 721-3800   (213) 721-4142   CLEANSOURCE, INC                   650 BRENNAN STREET               SAN JOSE           CA       95131-1204
            U             (318) 484-7177   (318) 484-7191   CLECO CORPORATION                  Attn: Accounts Payable           PINEVILLE          LA            71361
                          (216) 444-2552   (216) 445-1829   CLEVELAND CLINIC HEALTH SYSTEM     6801 BRECKSVILLE ROAD            INDEPENDENCE       OH            44131
            U             (330) 296-4342   (330) 296-6877   CLEVELAND PUNCH AND DIE CO         P O BOX 769                      RAVENNA            OH            44266
    No Longer in Bus      (281) 593-2198   (281) 593-8357   CLEVELAND REG. MED. CNTR           ATT: ACCOUNTS PAYABLE            CLEVELAND          TX            77327
    No Longer in Bus      (219) 233-7918   (219) 233-7992   CLIFFCOR MEDICAL                   1211-1215 MISHAWAK AVE.          SOUTH BEND         IN            46615
    No Longer in Bus      (814) 443-3194   (814) 445-3894   CLINICAL EQUIPMENT SVCS INC        368 REBECCA STREET               SOMERSET           PA            15501
    No Longer in Bus      (559) 935-4203   (559) 935-4207   COALINGA REGIONAL MEDICAL CTR      1191 PHELPS AVE.                 COALINGA           CA            93210
            C             (206) 622-1151   (206) 282-6651   COAST CRANE COMPANY                8250 5TH AVENUE S                SEATTLE            WA            98108
            U             (714) 754-5595   (714) 549-3185   COASTAL COMMUNITY HOSPITAL         2701 S. BRISTOL STREET           SANTA ANA          CA            92704
                                           (727) 345-0325   COBHAM MISSIONS SYSTEMS dba        CONAX FLORIDA CORPORATION        Saint Petersburg   FL            33710
           U              (305) 267-0072   (305) 261-5999   COBRA MEDICAL EQUIPMENT            4514 SW 74TH AVE                 MIAMI              FL            33155
                          (208) 667-1158   (208) 765-1818   COEUR DALENE POWER TOOL & HDWR     451 CHERRY LANE & HWY 95         COEUR D'ALENE      ID            83815
           U              (802) 656-3255   (802) 656-8961   COHR MASTERPLAN                    ATT: FRED COOK                   BURLINGTON         VT             5401
           U              (310) 832-4581   (310) 832-4583   COLES BATTERY & IGNITION           555 W 5TH ST                     SAN PEDRO          CA            90731
           U              (315) 866-0826   (315) 866-8069   COLLIS TRUE VALUE HARDWARE         104 N MAIN ST                    HERKIMER           NY            13350
           C              (314) 966-2000   (314) 966-4725   COLOR ART INC                      10300 WATSON RD                  ST LOUIS           MO       63127-1187
           U              (303) 289-1011   (303) 289-5430   COLORADO BRAKE & SUPPLY            5001 E. 52ND AVENUE              COMMERCE CITY      CO            80022
                          (719) 269-4042   (719) 269-4129   COLORADO DEPT OF CORRECTIONS       ACCOUNTS PAYABLE DEPT.           CANYON CITY        CO       81212-1010
           C              (719) 550-0700   (719) 550-0706   COLORADO FLATWORK, INC             2330 WAYNOKA ROAD                COLORADO SPRINGS   CO            80915
                          (719) 471-8181   (719) 471-7829   COLORADO SPRINGS                   INDEPENDENCE CENTER              COLORADO SPRINGS   CO            80903
                          (212) 305-9424   212-305-9474     COLUMBIA UNIVERSITY                622 WEST 168TH ST / P.O BOX 51   NEW YORK           NY            10032
                          (718) 575-7118   (781) 575-0084   COMDISCO LAB/SCIENTIFIC            50 SHAWMUT RD.                   CANTON             MA             2021
          C               (313) 581-8050   (313) 581-8292   COMMONWEALTH SERVICE SLS           5455 OAKMAN BLVD                 DEARBORN           MI            48126
         U                (419) 636-1131   (419) 636-3100   COMMUNITY HOSP OF WILLIAMS CNT     433 W. HIGH STREET               BRYAN              OH            43506
         U                (406) 363-6802   (406) 363-6803   COMPANION PET CLINIC               162 GOLF COURSE ROAD             HAMILTON           MT            59840
         U                (909) 591-6546   (909) 590-1348   COMPART                            13263 YORBA AVE                  CHINO              CA            91710
         U                (949) 235-1815   (949) 600-7278   COMPASS CONTRACTOR SUPPLY          26531 VIA JUANITA                Mission Viejo      CA            92691
          C               323-278-0885     323-278-0856     COMPLETE INDUSTRIAL REPAIR         7403 TELEGRAPH ROAD              Montebello         CA            90640
         U                (360) 570-2210   (360) 943-1961   COMPLETE REPAIR SERVICES LLC       7242 LITTLEROCK ROAD S.W.        TUMWATER           WA            98512
         U                (707) 258-0885   (707) 855-5465   COMPLETE WELDERS SUPPLY            101 CAMINO DORADO                Napa               CA            94558
          C               (800) 521-0420   (313) 496-9069   COMPOSITE FORGINGS LTD             2300 WEST JEFFERSON AVENUE       DETROIT            MI            48216
   No Longer in Bus       (612) 493-0099   (612) 493-0093   COMPUTERIZED MACHINERY             11733 95TH AVE. NORTH            MAPLE GROVE        MN            55369
         U                (719) 570-7333   (719) 570-7610   CONCEPTS IN MILLWORK INC           1490 TUSKEGEE PLACE              COLORADO SPRGS     CO            80915
          C               (925) 685-6799   (925) 685-6851   CONCO CEMENT CO                    5151 PORT CHICAGO HIGHWAY        CONCORD            CA       94520-1216
         U                (603) 225-2711   (603) 228-7023   CONCORD HOSPITAL                   250 PLEASANT STREET              CONCORD            NH             3301




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            U                (630) 257-5440   (630) 257-7566   CONCRETE CLINIC INC                    13089 MAIN STREET                LEMONT                IL            60439
            U                909-613-9000     909-590-3446     CONDENSER & CHILLER SERVICES           13382 BENSON AVE                 Chino                 CA            91710
            C                (801) 627-8156   (801) 731-7234   CONNECTORS FOR CONSTRUCTION            1996 WEST 4600 SOUTH             ROY                   UT            84067
            U                (845) 565-5820   (845) 565-4242   CONSOLIDATED MEDICAL INC               29 PROSPECT ST.                  NEWBURGH              NY            12550
            U                (303) 623-5313   (303) 493-0638   CONSOLIDATED PARTS INC                 555 QUIVAS ST                    DENVER                CO            80204
            C                (605) 332-4994   (605) 332-4993   CONSTRUCTION PRODUCTS & CNSLT          P O BOX 84433                    SIOUX FALLS           SD       57118-4433
            C                (913) 335-2224   (913) 335-2301   CONSTRUCTION RENTAL INC *              P O BOX 68                       SCANDIA               KS            66966
            C                (602) 323-2807   (602) 323-2810   CONSTRUCTION TOOL & SUPPLY             DIV OF WESTERN PNEUMATIC TOOL    PHOENIX               AZ            85040
            C                (573) 499-1808   (573) 499-1808   CONSTRUCTION TOOL REPAIR               806 C PANNELL STREET             COLUMBIA              MO            65202
                             (412) 681-6673   (412) 681-9185   CONSTRUCTION TOOL SERVICE INC          3500 LIBERTY AVENUE              PITTSBURGH            PA            15201
          U                  (949) 863-1411   (949) 852-1527   CONSUMERS AIRCRAFT COMPANY             16842 HALE AVENUE                IRVINE                CA            92714
    No Longer in Bus         (818) 242-4171   (818) 637-5016   CONTINENTAL HOSP. SUPPLY               320 WEST CERRITOS AVE.           GLENDALE              CA            91204
          U                  (305) 633-7700   (305) 633-7707   CONTINENTAL SERVICE GROUP              1300 N.W. 36TH STREET            MIAMI                 FL            33142
          U                  (925) 370-5200   (925) 370-5423   CONTRA COSTA REG. MED CTR              ATTN: ACCOUNTS PAYABLE           MARTINEZ              CA            94553
          U                  (503) 469-0331   (503) 793-7676   CONTRACTOR SALES AND SERVICE           P O BOX 21733                    KEIZER                OR       97307-1733
           C                 (513) 851-9070   (513) 851-9017   CONTRACTORS CHOICE, INC                2070 SCHAPPELLE LANE             CINCINNATI            OH            45240
           C                 (419) 334-3505   (419) 332-4112   CONTRACTORS EQUIPMENT, INC             201 SOUTH STONE STREET           FREMONT               OH            43420
           C                 (805) 543-4558   (805) 543-4472   CONTRACTORS MAINTENANCE SV             3440-B SACRAMENTO DRIVE          SAN LUIS OBISPO       CA            93401
           C                 (916) 331-6934   (916) 331-8732   CONTRACTORS WAREHOUSE *                WESTERN DIVISION                 SACRAMENTO            CA       95821-0321
           C                 (636) 474-3188   (636) 474-3195   CONTROL TECHNICIANS, INC               102 TRADE CENTER DR              SAINT PETERS          MO            63376
          U                  (417) 623-3602   (417) 623-3707   CONTROLS AND ELECTRIC MTR CO           P O BOX 1651                     JOPLIN                MO            64802
           C                 (843) 248-5302   (843) 248-4758   CONWAY ELECTRIC MOTOR SERVICE          402 LEWIS STREET                 CONWAY                SC            29526
           C                 (850) 763-9679   (850) 763-9679   COOK MOWER SERVICE                     613 CAMELLIA AVENUE              PANAMA CITY           FL            32404
          U                  (931) 520-2590   (931) 520-2490   COOKEVILLE REGIONAL MED CTR            142 WEST FIFTH ST.               COOKEVILLE            TN            38501
           C                 (702) 565-3728   (702) 565-2608   COOPER FIRE PROTECTION SERVICE         P O BOX 15039                    FARMINGTON            NM            87401
           C                 (602) 455-9141   (602) 269-3142   COPPER STATE BOLT & NUT CO****         3622 N 34TH AVENUE               PHOENIX               AZ            85017
         C, U                (714) 265-9411   (714) 265-9413   CORDOVA & SON INC                      13901 NAUTILUS DR                GARDEN GROVE          CA            92843
           C                 (650) 589-9445   (650) 589-2815   CORE-MARK INTERNATIONAL                395 OYSTER POINT BLVD #415       SOUTH SAN FRANCISCO   CA            94080
          U                  (951) 737-6515   (951) 737-8657   CORONA CLIPPER CO                      1540 EAST 6TH STREET             CORONA                CA            91718
           C                 (361) 883-1117   (361) 883-7365   CORPUS CHRISTI POWER TOOL              3701 AGNES ST                    CORPUS CHRISTI        TX            78405
          U                  (787) 724-0041   (787) 724-7211   CORTES INDUSTRIAL ORGANIZAION          P O BOX 41264                    SANTURCE              PR              907
          U                  (909) 890-9311   (909) 890-9368   COTT BEVERAGES USA                     499 E. MILL STREET               SAN BERNARDINO        CA            92408
                             (701) 235-0175   (701) 235-1444   COUNTRY HEALTH LLC                     ATT: ACCOUNTS PAYABLE            FARGO                 ND            58103
                             (601) 957-2273   (601) 977-0508   COUNTY LINE FAMILY MED CLINIC          1551 E. COUNTY LINE RD.          JACKSON               MS            39211
           U                 972-289-8665     972-288-9984     COUNTY LINE TOOL REP. & CONST          2517 FRANKLIN DR., SUITE H       Mesquite              TX            75150
           U                 (760) 873-4266   (760) 873-1137   COUNTY OF INYO - CORONER               P.O. BOX 1175                    BISHOP                CA            93515
                             (989) 583-4093   (989) 583-4782   COVENANT HEALTH SYSTEM                 3345 MICHELSON DRIVE, STE. 100   IRVINE                CA            92612
          U                  (417) 269-7994   (417) 269-4493   COX MEDICAL CENTER                     1423 N JEFFERSON AVE             SPRINGFIELD           MO            65802
    No Longer in Bus         (951) 678-9902   (951) 678-9952   COYOTE RENTALS & SALES, INC            32420 CENTRAL AVENUE             WILDOMAR              CA            92595
          U                  (972) 313-1133   (972) 313-1341   CPE INC                                3330 STOVALL STREET              IRVING                TX            75061
          U                  (415) 863-8383   (415) 863-2424   CRAFTSMEN TOOL RENTAL INC              131 MISSOURI STREET              SAN FRANCISCO         CA       94107-2424
           C                 (415) 642-8698   (415) 285-1455   CRAIG & GREEN                          1595 FAIRFAX AVENUE              SAN FRANCISCO         CA            94124
                             (562) 426-2531   (562) 424-5043   CRANE PACIFIC VALVE GROUP              3201 WALNUT AVENUE               LONG BEACH            CA            90807
           C                 (800) 554-6235   (410) 679-8141   CRANE PRO SERVICES                     ATTN: ACCOUNTS PAYABLE           ABINGDON              MD            21009
           U                 (912) 452-2926   (912) 452-1451   CRANK N CHARGE                         531 NORTH JEFFERSON STREET       MILLEDGEVILLE         GA            31061
           U                 (503) 654-7751   (503) 654-6172   CRANSTON MACHINERY CO., INC            2251 S.E. OAK GROVE BLVD         OAK GROVE             OR            97267
           U                 (252) 633-3378   (252) 633-3472   CRAVEN COUNTY DIALYSIS CTR             813 KENNEDY AVE.                 NEW BERN              NC            28560




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Cred. App, Update on File       PHONE             FAX                    COMPANY NAME                           ADDRESS                    CITY     STATE   ZIP
            U             (510) 228-9811   (510) 229-0112   CRESCO EQUIPMENT RENTAL             197 HOWE ROAD                   MARTINEZ           CA            94553
                          (888) 476-1536   (214) 488-9299   CREST SERVICES                      2296 ROCKBROOK DRIVE #200       LEWISVILLE         TX            75067
            C             (515) 782-6411   (515) 782-6869   CRESTLAND COOPERATIVE               300 OSAGE                       CRESTON            IA       50801-0329
            U             (805) 890-6569   (805) 388-3374   CRIME POINT                         1560 LOMA DRIVE                 CAMARILLO          CA            93010
            C             (803) 877-3357   (803) 877-9011   CRIMSON ELECTRIC INC                LEE JOYAL ROAD                  GREER              SC            29652
            U             (912) 276-3392   (912) 276-3134   CRISP REGIONAL HOSPITAL             PO BOX 5007                     CORDELE            GA            31010
            U             (601) 798-4711   (601) 799-3668   CROSBY MEMORIAL HOSPITAL            PO BOX 909                      PICAYUNE           MS            39466
                          (800) 282-1229   (877) 778-8102   CROWN AIR*                          1486 E CEDAR ST                 ONTARIO            CA            91761
            C             (323) 268-1298   (323) 268-6558   CROWN POLY, INC. *                  4160 BANDINI BLVD               LOS ANGELES        CA            90023
            C             (606) 679-4267   (606) 679-7997   CROWN RENTAL                        1014 W COLUMBIA STREET          SOMERSET           KY            42503
    No Longer in Bus      (703) 212-6700   (703) 212-6705   CSA MEDICAL ORTHO EQUIPMENT         PO BOX 9973                     ALEXANDRIA         VA            22304
            U             (800) 260-0274   (714) 848-7977   CSM FITNESS EQUIPMENT               7441 VINCENT CIRCLE             HUNTINGTON BEACH   CA            92647
            U             (509) 544-9317   (509) 544-9519   CUBBY'S ELECTRIC                    1716 WEST A ST                  PASCO              WA            99301
            C             (408) 808-8000   (408) 279-6214   CUPERTINO ELECTRIC INC *            2659 COLLIER CANYON ROAD        LIVERMORE          CA            94550
            U             (610) 432-9923   (610) 437-6422   CURIO ELECTRIC REPAIR               825 S 5TH ST                    ALLENTOWN          PA            18103
            C             (918) 584-6757   (918) 584-1641   CURLEY ELECTRIC                     1118 E. INDEPENDENCE            TULSA              OK            74106
            C             (918) 584-6757   (918) 584-1641   CURLEY ELECTRIC MOTOR SV            6707 E. 12TH ST                 TULSA              OK       74112-5694
                          (920) 303-7300   (920) 303-7309   CURWOOD, INC                        2200 BADGER AVE                 Oshkosh            WI       54903-2968
            U             (800) 622-5151   (855) 834-7315   CUSTOM MOBILITY INC                 7199 BRYAN DAIRY                LARGO              FL            33777
    No Longer in Bus      (910) 686-3599   (910) 686-3499   CVC HOME MEDICAL, INC.              P.O. BOX 10731                  WILMINGTON         NC            28404
            U             (800) 292-2953   (303) 297-0650   CVJ AXLES, INC                      4101 BRIGHTON BLVD              Denver             CO            80216
            U             (800) 392-2986   (888) 392-0205   CYTOMETRY ASSOCIATES                201 SUMMIT VIEW DRIVE STE 100   BRENTWOOD          TN            37027




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